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  16
                        UNITED STATES DISTRICT COURT
  17                   CENTRAL DISTRICT OF CALIFORNIA
  18   JOHN DOE, an individual,                 Case. No.: 2:23-cv-02093 ODW
  19                                            (PDx)
                          Plaintiff,
  20
              vs.                               PLAINTIFF’S NOTICE OF
  21                                            SUPPLEMENTAL
  22   GRINDR INC., a Delaware corporation,     AUTHORITY
       and
  23   GRINDR LLC, a California corporation,    Complaint filed: March 10, 2023
  24                                            Action removed: March 21, 2023
                          Defendants.
  25
                                                Date: N/A
  26                                            Time: N/A
  27                                            Hon. Otis D. Wright, II

  28


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   1         TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
   2   COUNSEL OF RECORD:
   3         PLEASE TAKE NOTICE that Plaintiff John Doe (“Plaintiff”)
   4   respectfully submits the following relevant decision in further support of his
   5   opposition to Defendants Grindr Inc.’s and Grindr LLC’s (“Defendants”)
   6   motion to dismiss (Dkt. No. 38, “Opposition”), which was issued after
   7   Plaintiff filed his Opposition:
   8      • In re: Social Media Adolescent Addiction/Personal Injury Products
   9         Liability Litigation, No. 4:22-md-03047-YGR (N.D. Cal. Nov. 14,
  10         2023) (denying in part and granting in part Defendants’ motions to
  11         dismiss).
  12
  13   Dated: November 14, 2023.
  14
                                               C.A. Goldberg, PLLC
  15
  16                                     By:   /s/ Hannah Meropol
  17                                           Hannah Meropol (SBN 340095)
                                               Attorney for Plaintiff John Doe
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   1                          CERTIFICATE OF SERVICE
   2          The undersigned, counsel for Plaintiff JOHN DOE, certifies that
   3    PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY was filed
   4    with the Court and served electronically through the CM-ECF (Electronic
   5    Case Filing) system to all counsel of record and to those registered to
   6    receive a Notice of Electronic Filing for this case on this 14th day of
   7    November, 2023.
   8
                                               /s/ Hannah Meropol
   9                                           Hannah Meropol
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         EXHIBIT A
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                                    3                                    UNITED STATES DISTRICT COURT

                                    4                                  NORTHERN DISTRICT OF CALIFORNIA

                                    5

                                    6      IN RE: SOCIAL MEDIA ADOLESCENT                     Case No. 4:22-md-03047-YGR
                                           ADDICTION/PERSONAL INJURY
                                    7
                                           PRODUCTS LIABILITY LITIGATION                      MDL NO. 3047
                                    8
                                                                                              ORDER GRANTING IN PART AND DENYING
                                    9      This Document Relates to:                          IN PART DEFENDANTS’ MOTIONS TO
                                           Individual Plaintiffs’ Master Amended              DISMISS
                                   10
                                           Complaint
                                   11                                                         Re: Dkt. Nos. 237 & 320

                                   12
Northern District of California




                                                  This Order addresses the first wave of legal arguments stemming from the filing, on behalf
 United States District Court




                                   13    of children and adolescents, of hundreds of individual cases across the United States against five
                                         companies operating some of the world’s most used social media platforms: Meta’s Facebook and
                                   14    Instagram, Google’s YouTube, ByteDance’s TikTok, and Snapchat.1 Notably, this multi-district
                                         litigation (“MDL”) encompasses, in addition to individual suits, over 140 actions brought on
                                   15    behalf of school districts and actions filed jointly by over thirty state Attorneys General. While
                                   16    plaintiffs’ complaint asserts eighteen claims against defendants, this Order addresses only
                                         defendants’ motions to dismiss the individual plaintiffs’ five priority claims.
                                   17
                                                MDL courts frequently phase motion to dismiss briefing to determine whether the
                                   18    gravamen of the complaint can proceed with discovery, then, in parallel, legal analysis of the
                                         remaining claims proceeds. Here, defendants were adamant that the entirety of the complaint
                                   19
                                         should be dismissed under Section 230 of the Communications Decency Act of 1996 and the First
                                   20    Amendment. If true, there would be no need to analyze the remaining claims.

                                   21            For the reasons set forth in this Order, based on a careful review of the pleadings and the
                                         briefing submitted by the parties as well as oral argument heard on October 27, 2023, the Court
                                   22    GRANTS IN PART and DENIES IN PART the motions to dismiss plaintiffs’ products liability claims
                                   23

                                   24
                                                 A Table of Contents outlining the organization of this Order is attached as Appendix A for
                                   25    the reader’s convenience.
                                                1
                                   26             For clarity, the primary defendants in this litigation are Alphabet, Inc.; ByteDance, Inc.;
                                         Facebook Holdings, LLC, Facebook Operations, LLC, Facebook Payments, Inc., Facebook
                                   27    Technologies, LLC (collectively, “Facebook”); Google LLC; Instagram, LLC; Meta Platforms,
                                         Inc., Meta Payments, Inc., Meta Technologies, LLC (collectively, “Meta”); TikTok, Inc., TikTok,
                                   28
                                         LLC, TikTok, Ltd. (collectively, “TikTok”); Snap, Inc. (“Snap”); and YouTube, LLC.
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                                         (Priority Claims 1–4), and FINDS that Section 230 and the First Amendment do not bar plaintiffs’
                                    1    negligence per se claim (Priority Claim 5). By way of summary, the Court finds that the parties’
                                    2    “all or nothing” approach to the motions to dismiss does not sufficiently address the complexity of
                                         the issues facing this litigation. Rather, the Court has conducted an analysis of the actual
                                    3    functionality defects alleged in the complaint, and in that context, has determined whether (and to
                                         what extend) the claims against the platforms can proceed.
                                    4
                                                I.       BACKGROUND
                                    5

                                    6                    A.     Procedural Background

                                    7            Plaintiffs’ Master Amended Complaint (hereinafter, “MAC”) is nearly 300 pages long
                                         asserting eighteen claims brought under various state laws on behalf of hundreds of plaintiffs. For
                                    8    efficiency purposes, the Court required plaintiffs to identify their five priority claims and preferred
                                         state law. (See Dkt. No. 131.) They are:
                                    9

                                   10           Claim 1: Strict Products Liability Design Defect – New York
                                                Claim 2: Strict Products Liability Failure to Warn – New York
                                   11           Claim 3: Product-Based Negligent Design Defect – Georgia
                                                Claim 4: Product-Based Negligent Failure to Warn – Georgia
                                   12           Claim 5: Negligence Per Se – Oregon
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                                   13
                                         Defendants filed two separate consolidated dismissal motions in response to the MAC. The first
                                   14    (hereinafter referred to as “MTD1”) addressed whether plaintiffs have legally stated each of the
                                         five priority claims. The second focused on immunity and protections under Section 230 and the
                                   15    First Amendment (hereinafter, “MTD2”).2
                                   16                    B.     Relevant Facts Alleged
                                   17
                                              The Court focuses on the allegations relevant to the pending motions. Thus, the Master
                                   18    Amended Complaint alleges as follows:

                                   19           Defendants are companies that own and operate “social media” platforms.3 (MAC ¶ 1.) Each
                                   20
                                                2
                                   21               Defendant Snap filed supplemental briefs in support of MTD1. See Dkt. Nos. 238 & 324.

                                   22            MTD2 came later as the Court was awaiting the possible impact of the Supreme Court’s
                                         decision in Gonzalez v. Google. Though that case raised questions regarding the scope of Section
                                   23    230, the Supreme Court ultimately did not reach them. See generally Gonzalez, et al. v. Google
                                         LLC, 598 U.S. 617 (2023).
                                   24

                                   25            The Court notes here that the parties failed to focus on the law of the identified preferred
                                         states on many key issues, which increased inefficiencies in resolving the pending motions. In the
                                   26    future, counsel shall address any concerns regarding the import of administrative mechanisms with
                                         the Court prior to motion practice.
                                   27
                                                3
                                                  Snap’s argument that Snapchat is not a social media platform and is instead “a camera
                                   28
                                         application” fail to persuade. Dkt. No. 238, Snap’s Supplemental Brief in Support of Defs’ MTD1
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                                         platform allows users to create profiles and to share content including messages, videos, and photos.
                                    1    Significantly, these platforms are more than mere message boards or search engines. In addition to
                                    2    enabling users to look for content, or to send content to other specific users, in many instances, the
                                         platforms determine when and to whom certain content is shown. As noted, the platforms here at
                                    3    issue are Facebook and Instagram, both operated by Meta; Snapchat; TikTok; and YouTube.

                                    4            Use of these platforms is generally free. Defendants make money primarily by selling
                                         advertising space. Marketers covet such space because defendants possess vast data about users.
                                    5
                                         This enables them to target advertisements to specific audiences. Given this business model,
                                    6    profits from these platforms are highly dependent on the number of users, the amount of time each
                                         user spends on the platform, and the amount of information a user provides, directly or indirectly,
                                    7    to the platform about themselves.

                                    8                           i.      Defect Allegations
                                    9
                                                 As pled, defendants target children as a core market and designed their platforms to appeal
                                   10    to and addict them.4 Because children still developing impulse control are uniquely susceptible to
                                         harms arising out of compulsive use of social media platforms, defendants have “created a youth
                                   11    mental health crisis” through the defective design of their platforms. (Id. at ¶ 96.) Further, these
                                         platforms facilitate and contribute to the sexual exploitation and sextortion of children,5 as well as
                                   12    the ongoing production and spread of child sex abuse materials (“CSAM”) online.
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                                   13
                                                  To that end, defendants know that children use their products, both from public and
                                   14    internal data. (See, e.g., id. at ¶ 60.) Indeed, the ability to estimate a user’s age and other
                                         characteristics increases the value of defendants’ platforms to advertisers. (Id. at ¶¶ 60–61.)
                                   15    Further, defendants specifically try to cultivate children as users. They believe that early adoption
                                         of their platforms will increase the likelihood a child will continue to use the platform as they age.
                                   16    Given the susceptibility of the addictive elements of the platforms, adolescents are more likely to
                                   17    use them for long periods of time, allowing defendants to sell more space to advertisers. (See,
                                         e.g., id. at ¶ 54.) Millions of children use defendants’ platforms “compulsively.” Many report that
                                   18    they feel they are addicted to the platforms, wish they used them less, and feel harmed by them.
                                         (Id. at ¶¶ 91–95.)
                                   19
                                                  Defendants are also aware that their platforms harm child users. (Id. at ¶ 99.) Beginning
                                   20    in at least 2014, researchers began demonstrating that addictive and compulsive use of defendants’
                                   21

                                   22    (hereinafter, “Snap’s Supplemental MTD Brief”) at 3:6–7. Further, this is not the appropriate
                                         procedural posture to resolve such fact-based arguments.
                                   23
                                                4
                                                 The Court refers herein to “children,” “child,” and “adolescent” interchangeably. The
                                   24
                                         Court understands that plaintiffs’ claims may require, at a future date, the Court to discern
                                   25    between allegations or claims relative to minors of particular ages. This is not necessary for
                                         purposes of this Order.
                                   26
                                                5
                                                  Plaintiffs use the word “sextortion” to describe “nightmarish scheme[s]” in which “a
                                   27    predator threatens to circulate the sexual images of [a] minor unless the predator is paid to keep
                                         the images under wraps.” MAC ¶ 143. Law enforcement allegedly reports that sextortion is
                                   28
                                         “pervasive” on defendants’ platforms. Id.
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                                         platforms leads to negative mental and physical outcomes for children. (Id. at ¶ 101; see also id.
                                    1    at ¶¶ 96–124 (discussing the nearly decade’s-worth of “scientific and medical studies” linking
                                    2    compulsive use of defendants’ platforms to negative health outcomes).) At least some defendants
                                         also knew about these harms from internal data and studies. (See, e.g., id. at ¶¶ 181–85 (as to
                                    3    Meta).)

                                    4           The MAC describes myriad ways in which the design of defendants’ platforms cause the
                                         harms described above. These aspects, or functions, include:
                                    5

                                    6            Endless-content: This describes the “endless feeds” of content shown to users via
                                         defendants’ platforms. (Id. at ¶ 845(i).) One example is Facebook’s “News Feed,” which presents
                                    7    users a continuous feed of stories, advertisements, and other content, and which never ends. (Id. at
                                         ¶ 202; see also id. at ¶¶ 494, 496 (as to analogous Snapchat features); 584–85, 591–92 (as to
                                    8    “continuous scrolling” via TikTok’s “For You” page); 700–701 (as to YouTube’s “autoplay”
                                         functionality).)
                                    9

                                   10            Lack of Screen Time Limitations: These designs concern maximizing the length of user
                                         sessions and the lack of default or user-imposed protections to limit session duration, such as by
                                   11    time of day or frequency of use. (Id. at ¶¶ 845(e) – (h), (j).) For instance, the TikTok app
                                         “intentionally omits the concept of time.” The app does not show users the time or date a video
                                   12    was uploaded, and the app “is designed to cover the clock displayed at the top of users’ iPhones,
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                                         preventing them from keeping track of time spent” in the app. (Id. at ¶¶ 621–22.)6
                                   13

                                   14            Intermittent Variable Rewards or “IVR”: Here, defendants designed algorithms to
                                         strategically time when they show content to users in order to maximize engagement. (Id. at
                                   15    ¶ 845(l); see also ¶¶ 77–81 (explaining how IVR works, generally, and how defendants deploy
                                         IVR on their platforms).) For example, Instagram may wait until a piece of content receives
                                   16    multiple likes before notifying the user who posted it. That way, the user’s dopamine reaction is
                                   17    intensified after viewing the notification. (Id. at ¶ 79.) TikTok may similarly delay showing a
                                         video it knows a user will like until the moment before it anticipates the user would otherwise log
                                   18    out of the app. (Id.)

                                   19            Ephemeral Content: To create a sense of urgency for users to engage with content, some
                                         defendants limit how long certain content is available. (Such content is sometimes referred to as
                                   20    “ephemeral” given its “disappearing” nature.)7 For example, the defining feature of Snapchat is
                                   21    the ability to send and receive “Snaps,” photo or video messages that disappear within a short
                                         period of time. (Id. at ¶ 444; see also id. at ¶¶ 294 (as to ephemeral Instagram and Facebook
                                   22    “Stories”); 626–27 (as to disappearing TikTok “Stories”).) Such content also makes it harder to

                                   23
                                                6
                                                   Plaintiffs acknowledge that, “after receiving public criticism regarding its [platform’s]
                                   24
                                         effects on people’s mental health,” TikTok introduced a “Take a Break” feature, which assists
                                   25    users in limiting their app screen time, beginning in June 2022. When a minor has spent 100
                                         minutes using the app on a given day, the app will show them, upon re-opening the app later that
                                   26    day, a message reminding them that the “Take a Break” feature exists. This feature is not enabled
                                         by default. Id. at ¶ 624.
                                   27
                                                7
                                                  See, e.g., id. ¶ 143 (describing how ephemeral content works and emphasizing the risk it
                                   28
                                         poses to the production and spread of CSAM).
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                                         track the spread of CSAM and enables coercive, predatory behavior toward children. (See, e.g.,
                                    1    id. at ¶ 523 (describing how Snapchat’s ephemeral content contributes to such harms).)
                                    2
                                                Limitations on Content Length: The length of content that can be posted is limited to
                                    3    optimize use. (See, e.g., id. at ¶ 224 (as to Instagram videos of up to fifteen seconds long).)

                                    4            Notifications: Defendants send users notifications on their phones, by text and by email, to
                                         draw them back to their respective platforms. For example, the platform may alert users when
                                    5
                                         someone they follow creates new content, or where someone reacts to their content. (Id. at
                                    6    ¶¶ 292–93 (as to Meta).) This includes pushing notifications to users late at night, prompting them
                                         to re-engage with the app no matter the cost to their sleep schedule. (Id. at ¶¶ 103 (as to
                                    7    defendants, generally); 488 (as to Snap).) Some defendants also notify users of content created by
                                         defendants themselves. For example, Snap rewards continuous engagement with the app by
                                    8    providing “elevated status,” “trophies,” and other awards to frequent users. (Id. at ¶¶ 439, 468
                                         (describing the range of social metrics through which Snapchat “reward[s] users when they engage
                                    9
                                         with [the app] and punish them when they fail to [do so].”).)
                                   10
                                                  Algorithmic Prioritization of Content: Defendants use engagement-based algorithms that
                                   11    promote content to users based on the likelihood it will keep them engaged with and using the
                                         platform rather than post content as specifically directed by users or in chronological order. (See,
                                   12    e.g., id. at ¶¶ 227 (as to Instagram); 200 (as to Facebook).) For instance, TikTok tracks user
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                                         behavior, such as time spent on a given video, so that it can provide a “never-ending stream of
                                   13
                                         TikToks optimized to hold [users’] attention.” (Id. at ¶ 585 (citation omitted) (alteration in
                                   14    original).) Plaintiffs allege this can be harmful to children not only because it promotes compulsive
                                         use, but because it may expose children to “rabbit holes” of harmful or inappropriate content. For
                                   15    example, a child experiencing depression may spend time on a video about suicide and then find
                                         themselves receiving an increasing number of suicide related videos. (Id. at ¶¶ 597–601.)
                                   16

                                   17            Filters: Defendants provide users with tools, such as filters, so that they can edit photos
                                         and videos before posting and/or sharing them. This enables the proliferation of “idealized”
                                   18    content reflecting “fake appearances and experiences,” resulting in, among other things, “harmful
                                         body image comparisons.” (Id. at ¶ 88.) For example, Snapchat includes “lenses and filters” that
                                   19    allow users to “blur[] imperfections,” “even[] out skin tone,” and alter facial features and skin
                                         color. (Id. at ¶¶ 513–14; see also id. at ¶¶ 314–17 (explaining how Instagram filters enable users
                                   20    to make “improvements” to their appearance, resulting in a range of social comparison, self-
                                   21    hatred, and other harms).) Exposure to these filtered, sometimes unrealistic images create body
                                         image and self-esteem issues among youth users. At present, defendants do not inform users when
                                   22    an image has been altered through filters or otherwise edited. As a result, young users are unable
                                         to discern unedited and edited content. (Id. at ¶ 845(k); see also id. at ¶ 318 (as to Meta).)
                                   23
                                                 Barriers to Deletion: Each defendant makes it more challenging to delete and/or deactivate
                                   24    a user account than to create one in the first place, thereby creating barriers to children
                                   25    discontinuing use of defendants’ apps, even if they want to. (See, e.g., id. at ¶¶ 358–60 (as to
                                         Facebook); 489–90 (as to Snapchat); 638–48 (as to TikTok); 774–77 (as to YouTube).) For
                                   26    instance, a user seeking to delete or deactivate their Facebook or Instagram account “must locate
                                         and tap on approximately seven different buttons (through seven different pages and popups) from
                                   27    th[eir] main feed[s].” (Id. at ¶ 359.) Yet, even once navigating that process, they are not able to
                                         immediately delete or deactivate their account; instead, Meta imposes a 30-day waiting period
                                   28
                                         during which a user can reactivate their account simply by logging in. (Id. at ¶ 360.)
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                                                  Connection of Child and Adult Users: Some platforms “recommend minor accounts to
                                     1   adult strangers.” (Id. at ¶ 845(u).) These include “quick add” functions that recommend that users
                                     2   “friend,” “follow,” or otherwise connect with other users. These features recommend connections
                                         between adult and child users, facilitating the exploitation of children by adult predators. (See,
                                     3   e.g., id. at ¶ 198 (as to Facebook); ¶¶ 509–10 (as to Snapchat).)

                                     4           Private Chats: Some defendants have private chat functions, which can be harmful to
                                         children as they further enable private communication with adult predators. (See, e.g., id. at ¶¶ 197
                                     5
                                         (as to Facebook); 225 (as to Instagram).)
                                     6
                                                Geolocation: Some defendants allow children to share their location with other users, such
                                     7   as by geotagging posts. This too can be used by predators. (See, e.g., id. at ¶¶ 506–07 (as to
                                         Snapchat); see also id. ¶ 845(t).)
                                     8
                                                 Age-Verification: Defendants either do not require users to enter their age upon sign-up or
                                     9
                                         do not have effective age-verification for users, even though such verification technology is
                                    10   readily available and, in some instances, used by defendants in other contexts.8 For example,
                                         Meta purports not to allow children under thirteen to access Facebook. The platform relies on a
                                    11   user’s self-reported age when they sign up for the platform to enforce this policy. When a user
                                         enters a birthdate showing they are under thirteen years-old, they will be blocked from completing
                                    12   the registration process. However, immediately thereafter, the platform permits them to
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                                         recomplete the sign-up form, enter an earlier birthday (even if it does not accurately reflect their
                                    13
                                         age), and create an account. (Id. at ¶¶ 328–32.) Snapchat’s age verification systems are similarly
                                    14   defective. (Id. at ¶ 461.)

                                    15           Lack of Parental Controls: Defendants offer parents limited tools for controlling their
                                         children’s access to and use of their respective platforms. Further, their apps do not require
                                    16   parental consent for children to create new accounts, or, where parental consent is required for
                                    17   child-users, children can easily circumvent the requirement by inputting a fake age, as described
                                         above. Where the platforms provide tools for parents to control or monitor their child’s use, the
                                    18   tools are inadequate. For example, Snapchat allows parents to “link” to a child’s account and see
                                         with whom they communicate, but the app does not enable parents to see what messages are being
                                    19   sent or to control access to many of the app’s features. (Id. at ¶ 522.)
                                    20                                              *       *       *
                                    21
                                                 The failure to warn claims are similarly based on the above-referenced alleged defects in their
                                    22   platforms. (See id. at ¶¶ 431–37 (Meta); 543–53 (Snap); 675–89 (TikTok); 812–19 (YouTube).)

                                    23                          ii.     Allegations Regarding Causation and Harm
                                    24           The MAC contains two categories of allegations relative to causation. As to the first, plaintiffs
                                    25   allege that the “defective features” of defendants’ platforms caused their negative physical, mental, and

                                    26
                                                8
                                                  See id. ¶ 59 (“None of the Defendants conduct proper age verification or authentication.
                                    27   Instead, each Defendant leaves it to users to self-report their age. This unenforceable and facially
                                         inadequate system allows children under 13 to easily create accounts on Defendants’ apps.”).
                                    28
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                                         emotional health outcomes, such as anxiety, depression, and self-harm. (See generally id. at ¶ 90.)
                                     1   They support these allegations by making three logical moves. First, they explain, in great detail, how
                                     2   defendants’ platforms work. Second, they assert these platforms are designed to (and in fact do) addict
                                         minor users. Third, they show that compulsive use of such platforms results in the harms alleged.
                                     3   (See generally ¶¶ 181–437 (Meta); 438–553 (Snap); 554–689 (TikTok); 690–819 (Google).) As to the
                                         second, the MAC is also replete with references to research studies tying use of defendants’ platforms
                                     4   to the types of injuries alleged by plaintiffs. (See id. at ¶ 101; see also id. at ¶¶ 96–124 (collecting
                                         studies).)9
                                     5

                                     6                          iii.    Negligence Per Se Allegations Relative to Section 230 & the First
                                                                        Amendment
                                     7
                                                Here, the Court notes that the MAC alleges claims for negligence per se based on
                                     8   defendants’ violations of two federal statutes, the Children’s Online Privacy Protection Act
                                         (“COPPA”), 15 U.S.C. §§ 6501–6506, and the Protect Our Children Act (“Protect Act”), 18
                                     9
                                         U.S.C. §§ 2258A, 2258B. Reportedly, approximately two dozen cases assert these allegations,
                                    10   and theories as to defendants’ violation of these statutes differ.

                                    11           In general, plaintiffs allege defendants violate COPPA by failing to: (i) provide,
                                         through their respective websites and apps, a clear, understandable, and complete notice to
                                    12   parents describing each’s collection, use, and/or disclosure of children’s personal information,
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                                         in violation of 16 C.F.R. § 312.4(a) and (c); (ii) make reasonable efforts, taking into account
                                    13
                                         available technology, to ensure parents receive such notices on their respective websites and
                                    14   apps such that they can provide informed consent, in violation of 16 C.F.R. § 312.4(b) – (c);
                                         and (iii) obtain verifiable parental consent before any collection, use, or disclosure of
                                    15   children’s personal information, in violation of 16 C.F.R. § 312.5(a)(1). (See MAC ¶ 1010.)
                                    16            Plaintiffs allege defendants violate the Protect Act by failing to: (i) “minimize the numbers
                                    17   of [ ] employees with access to visual depictions of [p]laintiffs,” and (ii) report “the violations of
                                         child pornography laws that they suspect[] to be in existence within [their] respective [platforms].”
                                    18   (Id. at ¶¶ 1004, 1006.)

                                    19          ///
                                                ///
                                    20          ///
                                    21          ///

                                    22

                                    23          9
                                                   The MAC contains additional causation allegations relative to harm caused to plaintiffs
                                         by adult third parties using defendants’ platforms. Plaintiffs allege, for instance, that the defective
                                    24
                                         design of each defendant’s respective platform facilitates harms to minor users arising out of third
                                    25   parties’ use of the platforms. See, e.g., id. at ¶ 134. For example, plaintiffs plead that, “[e]ach
                                         Defendant knew or should have known that the design” of their platforms “attracts, enables, and
                                    26   facilitates child predators, and that such predators use [their] apps to recruit and sexually exploit
                                         children for the production of CSAM and its distribution . . . .” Id. at ¶ 164. Elsewhere, they
                                    27   contend that an increased “risk of sexual exploitation, sexual abuse, and sextortion of children” is
                                         “a direct and foreseeable consequence of Defendants’ connecting children to sexual predators.”
                                    28
                                         Id. at ¶ 144. Plaintiffs make such allegations as to each defendant and a range of design defects.
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                                                 II.     LEGAL FRAMEWORK
                                     1

                                     2                   A.      Law to Apply in an MDL

                                     3            In an MDL, the transferee court applies the law of its circuit to issues of federal law, but on
                                         issues of state law it applies the state law that would have been applied to the underlying case as if
                                     4   it had never been transferred into the MDL. In re Anthem, Inc. Data Breach Litig., 2015 WL
                                         5286992, at *2 (N.D. Cal. Sept. 9, 2015) (collecting cases). This may require a court to apply
                                     5
                                         different law to the individual cases within the MDL. See In re Dow Co. Sarabond Prods. Liab.
                                     6   Litig., 666 F. Supp. 1466, 1468–70 (D. Colo. 1987) (applying the law of four different circuits to
                                         different cases in the same MDL).
                                     7
                                                         B.      Motion to Dismiss Standard
                                     8
                                                  The standard under Federal Rule of Civil Procedure 12(b)(6) is well-known and not in
                                     9
                                         dispute. “To survive a motion to dismiss for failure to state a claim after the Supreme Court’s
                                    10   decisions in Iqbal and Twombly, plaintiffs’ allegations must suggest that their claim has at least a
                                         plausible chance of success.” Levitt v. Yelp! Inc., 765 F.3d 1123, 1134–35 (9th Cir. 2014)
                                    11   (cleaned up). The district court must assume that the plaintiffs’ allegations are true and draw all
                                         reasonable inferences in their favor. The court need not, however, construe as true conclusory
                                    12   statements or unreasonable inferences. In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1055 (9th Cir.
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                                         2008). These well-established standards apply with equal force in MDL proceedings. See In re
                                    13
                                         Optical Disk Drive Antitrust Litig., 2011 WL 3894376, at *8–*9 (N.D. Cal. Aug. 3, 2011)
                                    14   (applying such standard in the context of an MDL); In re Zofran (Ondansetron) Prod. Liab.
                                         Litig., 2017 WL 1458193, at *5 (D. Mass. Apr. 24, 2017) (the “creation of an MDL proceeding
                                    15   does not suspend [or change] the requirements of the Federal Rules of Civil Procedure”).
                                    16                   C.      Organization of Analysis
                                    17
                                                 The claims at issue raise multiple broad and distinct theories of harm regarding a wide
                                    18   variety of alleged conduct by defendants. In the interest of efficiency and clarity, this Order is
                                         organized as follows:
                                    19
                                                  The Court first addresses the extent to which plaintiffs’ priority claims are barred, if at all, by
                                    20   Section 230 (Section III) or the First Amendment (Section IV). Given the complexity of the issue, the
                                    21   legal framework is outlined in detail before conducting the analysis. In that regard, the Court looks to
                                         paragraphs 845 and 864 of the MAC, as well as the parties’ dismissal briefing, to define the list of
                                    22   alleged defects at issue.10 It is these detailed, conduct-specific allegations that require analysis.

                                    23
                                                 10
                                                   At the October 27 hearing, plaintiffs agreed that the strict products liability and product-
                                    24
                                         based negligence claims (Priority Claims 1–4) derive from the same alleged defects. Thus, the
                                    25   Court finds that the defects identified herein are alleged as to all of the products liability claims.
                                         Further, also at the hearing, plaintiffs agreed that paragraphs 845(d), (0), (q), (r), and (s) from the
                                    26   MAC do not apply to plaintiffs’ products liability claims, and in that regard are stricken.

                                    27          Except as otherwise stated, the Court does not here determine if plaintiffs have alleged
                                         each defect as to each platform. Rather, the Court here refers to salient examples of each defect
                                    28
                                         from the various platforms. If the Court allows a claim to proceed as to an alleged defect,
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                                                Next, the Court assesses whether plaintiffs have stated their products liability claims in
                                     1   terms of the existence of a product (Section V), duty (Section VI), and general causation (Section
                                     2   VII).

                                     3          III.      SECTION 230

                                     4                    A.     Section 230(c)(1) Overview
                                     5
                                                Defendants contend that Section 230, 47 U.S.C. § 230, of the Communications Decency
                                     6   Act (“CDA”), bars all of plaintiffs’ priority claims. Plaintiffs, in turn, argue that Section 230 bars
                                         none. The Court finds neither sides’ all-or-nothing approach to fairly or accurately represent the
                                     7   Ninth Circuit’s application of Section 230 immunity. Before starting its analysis of defendants’
                                         motion, the Court sets forth this authority.
                                     8
                                                The Court begins with the statute which provides:
                                     9

                                    10          No provider or user of an interactive computer service shall be treated as the
                                                publisher or speaker of any information provided by another information
                                    11          content provider.11
                                    12   47 U.S.C. § 230(c)(1). Pursuant to Section 230(e)(3) “[n]o cause of action may be brought and no
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                                         liability may be imposed under any State or local law that is inconsistent with this section.”
                                    13

                                    14           By way of background, prior to passage of the relevant portions of Section 230 in 1996,
                                         websites had an adverse incentive not to monitor or remove any harmful content from their sites.
                                    15   If they did, they could be held liable for harmful content not otherwise removed. In contrast, by
                                         doing nothing, liability for third-party content did not attach. Congress passed the CDA, “for two
                                    16   basic policy reasons: to promote the free exchange of information and ideas over the Internet and
                                    17   to encourage voluntary monitoring for offensive or obscene material.” Carafano v.
                                         Metrosplash.com, Inc., 339 F.3d 1119, 1122 (9th Cir. 2003) (citations omitted).
                                    18
                                                Child safety and well-being also constitute explicit goals of the CDA. The statute itself
                                    19   provides that amongst its policy goals are: “encourage[ing] the development of technologies
                                         which maximize user control over what information is received by individuals, families, and
                                    20   schools who use the Internet and other interactive computer services; [and] remov[ing]
                                    21   disincentives for the development and utilization of blocking and filtering technologies that
                                         empower parents to restrict their children’s access to objectionable or inappropriate online
                                    22   material.” 47 U.S.C. § 230(b)(3)–(4).

                                    23           Through the CDA, online publishers are granted greater freedom from liability than their
                                         traditional counterparts. Batzel v. Smith 333 F.3d 1018, 1026–1027 (9th Cir.2003) (cleaned up)
                                    24   (“As a matter of policy, Congress decided not to treat providers of interactive computer services
                                    25

                                    26   defendants will have an opportunity to raise with the Court whether plaintiffs have alleged the
                                         defect is present in their platform.
                                    27
                                                11
                                                     There are some exceptions that are not relevant to the claims currently alleged.
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                                         like other information providers such as newspapers, magazines or television and radio
                                     1   stations . . . Congress . . . has chosen to treat cyberspace differently.”).
                                     2
                                                        B.      Tests to Determine Applicability of Immunity Protections
                                     3
                                                                i.      The Barnes Test
                                     4
                                                The Ninth Circuit has articulated a three-part test for determining if a claim is entitled to
                                     5
                                         Section 230(c)(1) immunity:
                                     6
                                                Section 230(c)(1) of the CDA “only protects from liability (1) a provider or
                                     7          user of an interactive computer service (2) whom a plaintiff seeks to treat, under
                                                a state law cause of action, as a publisher or speaker (3) of information
                                     8          provided by another information content provider.
                                     9
                                         Barnes v. Yahoo!, Inc., 570 F.3d 1096, 1100 (9th Cir. 2009), as amended (Sept. 28, 2009)
                                    10   (footnotes omitted).12 Hereinafter, the Court refers to this as the Barnes test.

                                    11           Here, plaintiffs allege that defendants fail to meet the second prong. The Court thus directs
                                         the bulk of its analysis there.
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                                                                        a.      Prong 1: Interactive Computer Services and Information
                                    13
                                                                                Content Providers
                                    14
                                                 Prong one provides that the act only applies to “information content providers.” As this is
                                    15   not disputed, the Court only briefly addresses this prong.
                                    16           “The term ‘information content provider’ means any person or entity that is responsible, in
                                    17   whole or in part, for the creation or development of information provided through the Internet or
                                         any other interactive computer service.” 47 U.S.C. § 230(f)(3). The term “‘interactive computer
                                    18   service’ means any information service, system, or access software provider that provides or
                                         enables computer access by multiple users to a computer server, including specifically a service or
                                    19   system that provides access to the Internet and such systems operated or services offered by
                                         libraries or educational institutions.” 13 47 U.S.C. § 230(f)(2).
                                    20

                                    21          12
                                                    Though usually addressed as separate, sequential prongs, the three parts of the test
                                    22   overlap, making them redundant in some cases. For example, if the Court finds that a platform is
                                         acting as an information content provider in prong one, they are necessarily finding that the
                                    23   information at issue is not entirely “provided by another” for prong three. Regardless, the Court
                                         sets forth each step as a separate analysis.
                                    24

                                    25
                                                13
                                                    “The term ‘access software provider’ means a provider of software (including client or
                                         server software) or enabling tools that do any one or more of the following: (A) filter, screen,
                                    26   allow, or disallow content; (B) pick, choose, analyze, or digest content; or (C) transmit, receive,
                                         display, forward, cache, search, subset, organize, reorganize, or translate content.” 47 U.S.C.
                                    27   § 230(f)(4). Defendants’ motion implies that Section 230 provides protection for all these
                                         activities. Not so. It provides companies that perform these activities with the limitation on
                                    28
                                         liability described in section 230(c)(1). For example, if they are transmitting or displaying their
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                                                 A platform can be both an interactive computer service and an information content
                                     1   provider. For example, a website that provides articles that it writes as well as comments written
                                     2   by third parties is both an interactive service provider and information content provider. In
                                         conducting the Section 230(c)(1) analysis, courts must consider whether the platform is a service
                                     3   or content provider “for the portion of the statement or publication at issue.” Carafano, 339 F.3d
                                         1123 (emphasis supplied).
                                     4
                                                                        b.     Prong 2: Publisher or Speaker
                                     5

                                     6           The second prong of the Barnes test focuses on “whether ‘the duty the plaintiff alleges’
                                         stems ‘from the defendant's status or conduct as a publisher or speaker.’” Lemmon v. Snap, Inc.,
                                     7   995 F.3d 1085, 1091 (9th Cir. 2021) (quoting Barnes, 570 F.3d 1107). A claim meets this
                                         prong where the claim is based on “behavior that is identical to publishing or speaking.”
                                     8   Barnes, 570 F.3d 1107 (emphasis supplied). Critically, Section 230 does not create immunity
                                         simply because publication of third-party content is relevant to or a but-for cause of the
                                     9
                                         plaintiff’s harm. The issue is whether the defendant’s alleged duty to the plaintiff could “have
                                    10   been satisfied without changes to the content posted by the website’s users and without
                                         conducting a detailed investigation.” Doe v. Internet Brands, Inc., 824 F.3d 846, 851 (9th Cir.
                                    11   2016).
                                    12           Thus, Doe v. Internet Brands instructs. There, the plaintiff was an aspiring model who
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                                         was assaulted at a fake audition third parties had posted on defendant’s website. The plaintiff
                                    13
                                         alleged that defendant was aware of the third parties’ scheme to assault models using the
                                    14   website, but failed to provide any warning to users such as plaintiff. Importantly, defend ant’s
                                         alleged awareness stemmed “from an outside source, not from monitoring postings” on their
                                    15   site. Id. at 849. The court held that Section 230 did not bar the claim because “Jane Doe’s
                                         failure to warn claim has nothing to do with Internet Brands’ efforts, or lack thereof, to edit,
                                    16   monitor, or remove user generated content. Plaintiff's theory [was] that Internet Brands should
                                    17   be held liable, based on its knowledge of the rape scheme. . . . The duty to warn allegedly
                                         imposed by California law would not require Internet Brands to remove any user content or
                                    18   otherwise affect how it publishes or monitors such content.” Id. Additionally, “[a]ny alleged
                                         obligation to warn could have been satisfied without changes to the content posted by the
                                    19   website’s users and without conducting a detailed investigation.” Id. While the harm was
                                         inextricable from the third-party content (the fake audition post), the conduct at issue was not
                                    20   the defendant’s publication of the advertisement, it was the failure to warn about the
                                    21   advertisement while holding information indicating that it was likely fake and dangerous.

                                    22           Further, in Lemmon v. Snap, Inc., 995 F.3d 1085, 1089 (9th Cir. 2021), the Ninth Circuit
                                         reversed a district court that found Section 230 barred plaintiffs’ claims against Snap. The case
                                    23   concerned a “speed filter” created by Snap. Users could open Snap and take a video of themselves
                                         while the filter showed the speed they were moving. Such content could then be posted/shared on
                                    24   SnapChat. Plaintiffs alleged that it was commonly believed that Snap would somehow reward
                                    25   photos or videos posted with the filter showing the user went more than 100 mph, and that Snap was
                                         aware of this belief. Plaintiffs’ children died in a car accident after driving over one-hundred miles
                                    26   per hour off a road. During the accident, one of them had the speed filter open on their phone.

                                    27
                                         own content rather than third party content, that is not entitled to immunity.
                                    28
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                                                  Section 230 did not apply because plaintiffs did not seek to hold Snap liable as a
                                     1   publisher or speaker of third-party content. No content was shared. Instead, the claim derived
                                     2   from the alleged dangerous feature of Snap’s platform, i.e., a filter that showed the user’s
                                         speed. Though the incentive to use the filter was to create and then post third -party content,
                                     3   the conduct directly at issue (Snap’s creation of the filter) is distinct from its role as publisher
                                         and “Snap could have satisfied its ‘alleged obligation’—to take reasonable measures to design
                                     4   a product more useful than it was foreseeably dangerous—without altering the content that
                                         Snapchat’s users generate . . . . Snap’s alleged duty in this case thus ‘has nothing to do with’
                                     5
                                         its editing, monitoring, or removing of the content that its users generate through Snapchat.
                                     6   Lemmon, 995 F.3d 1092 (9th Cir. 2021) (quoting Internet Brands, 824 F.3d 851)).14

                                     7            With respect to the term “publishing” itself, courts understand it to mean “deciding whether to
                                         publish or to withdraw from publication third-party content.” Id. The most basic example of online
                                     8   publishing Section 230(c)(1) is intended to protect is a message board on which content is posted by
                                         third parties. For example, Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093 (9th Cir. 2019) held
                                     9
                                         the plaintiff could not proceed on a claim that defendant, an online platform, contributed to the death
                                    10   of her son who purchased heroin from another user on the platform through message board postings.
                                         In this circumstance, the defendant was merely a publisher of third-party content.
                                    11
                                                 “Publishing” also includes editorial decisions and functions ancillary to the decision to
                                    12   make content available. Thus, publishing has been found to “involve[] reviewing [and] editing,”
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                                         such as “review[ing] material submitted for publication, perhaps edit[ing] it for style or technical
                                    13
                                         fluency,” Barnes, 570 F.3d 1102, and “deciding whether to exclude material . . . .” Fair Hous.
                                    14   Council of San Fernando Valley v. Roommates.Com, LLC, 521 F.3d 1157, 1170–71 (9th Cir.
                                         2008). In general, it is any conduct “rooted in the common sense and common definition of what
                                    15   a publisher does.” Barnes, 570 F.3d at 1102 (also “deciding whether to publish, withdraw,
                                         postpone or alter content” and other of “‘publisher’s traditional editorial functions’”)
                                    16   (quoting Zeran v. Am. Online, Inc., 129 F.3d 327, 331 (4th Cir.1997)). The Ninth Circuit has also
                                    17   indicated that Section 230 may provide liability for any claim that would “necessarily require an
                                         internet company to monitor third-party content.” HomeAway.com, Inc. v. City of Santa Monica,
                                    18   918 F.3d 676, 682 (9th Cir. 2019); Lemmon, 995 F.3d 1092.

                                    19                                  c.      Prong 3: “Information Provided by Another Information
                                                                                Content Provider”
                                    20

                                    21           The third prong overlaps with the prior two and concerns information provided by another
                                         information content provider. In re Apple Inc. App Store Simulated Casino-Style Games Litig.,
                                    22   625 F. Supp. 3d 971, 978 (N.D. Cal. 2022) (“Practically speaking, the second and third factor tend
                                         to overlap in significant ways.”) No further articulation is required.
                                    23
                                                ///
                                    24          ///
                                    25
                                                14
                                    26              See also Barnes, 570 F.3d at 1107 (defendant liable where liability derived from promise
                                         to remove third-party content from website, not merely from failure to remove the content)
                                    27   (“liability here would come not from Yahoo’s publishing conduct, but from Yahoo's manifest
                                         intention to be legally obligated to do something, which happens to be removal of material from
                                    28
                                         publication”).
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                                                                ii.     The Roommates Test
                                     1

                                     2            Given the complexity with which online platforms function, it is not always clear whether
                                         a platform is merely acting as an interactive services provider and publisher of another’s content,
                                     3   or if the platform’s involvement or intervention in the posting or presentation of that content
                                         crosses the line into what courts generally refer to as “development.” Kimzey v. Yelp! Inc., 836
                                     4   F.3d 1263, 1269 (9th Cir. 2016) (“The meanings of the words ‘creation’ and ‘development’ are
                                         hardly self-evident in the online world, and our cases have struggled with determining their
                                     5
                                         scope.”).
                                     6
                                                  The Ninth Circuit has established a test for determining if a platform’s actions in altering
                                     7   or presenting content constitute development, namely, whether it provides “neutral tools” for the
                                         creation or dissemination of content which does not destroy Section 230 immunity.
                                     8   Roommates.Com, 521 F.3d at 1172. However, if the platform’s conduct materially alters the
                                         content, enhancing its alleged illegality, the tool is not neutral, and Section 230 does not bar
                                     9
                                         liability. Id. at 1174–75 (“Where it is very clear that the website directly participates in
                                    10   developing the alleged illegality . . . immunity will be lost.”). Hereinafter, the Court refers to this
                                         as the Roommates test.
                                    11
                                                 Importantly, in Roommates, the Ninth Circuit found some of the alleged conduct by
                                    12   defendants was neutral, and protected under Section 230, while other conduct was not. There, the
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                                         defendant, Roommates.com, hosted a website that allegedly required people posting and searching
                                    13
                                         for roommates to include certain information about themselves or the people they were looking
                                    14   for, such as race and familial status, and also provided an “additional comments” box for users to
                                         provide more information. Plaintiffs alleged that this violated fair housing laws including the
                                    15   Federal Housing Act.
                                    16           The court held that Section 230 did not grant immunity to the extent that Roommates.com
                                    17   created and required the category choices. In that way, it constituted a “developer” of the content
                                         at issue (the housing ads and searches). Its decision to add those categories about race and other
                                    18   characteristics substantively altered the third-party speech, and further, contributed to the wrongful
                                         nature of the content by inserting discriminatory criteria.15 In contrast, the Roommates court also
                                    19   held that the “additional comments” text box was a “neutral tool” entitled to Section 230
                                         immunity. It was merely a “generic text prompt with no direct encouragement to perform illegal
                                    20   searches or to publish illegal content.” Id. at 1175.
                                    21
                                                 Similarly, in Dyroff, plaintiff brought various claims holding defendant liable for using an
                                    22   algorithm to recommend a message board to her son based on his past interests and for sending
                                         him notification when others posted on the message board after he joined. Her son joined that
                                    23

                                    24          15
                                                   The court distinguished this from an earlier case, Carafano v. Metrosplash.com, Inc.
                                    25   There, a platform had provided categories (such as the user’s name) for people to add to profiles.
                                         The plaintiff’s defamation claim was based on a fake profile someone made of her on defendant’s
                                    26   website. The court explained that Section 230 barred the claim: “[t]he salient fact in Carafano
                                         was that the website’s classifications of user characteristics did absolutely nothing to enhance the
                                    27   defamatory sting of the message, to encourage defamation or to make defamation easier.”
                                         Roommates 521 F.3d 1172.
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                                         message board and used it to purchase drugs from another user, leading to his overdose. Plaintiff
                                     1   alleged that the recommendation to join the message board was defendant’s own content thus
                                     2   immunity could not be available under Barnes. It was not acting as an interactive computer
                                         service, or publishing another party’s content. The Ninth Circuit disagreed finding that the
                                     3   notifications and recommendations “were content-neutral tools used to facilitate . . . user-to-user
                                         communication, [and] it did not materially contribute [] to the alleged unlawfulness of the content”
                                     4   that ultimately harmed plaintiff’s son (i.e., the third-party drug sale). Dyroff, 934 F.3d 1096, 1099.
                                     5
                                                        C.      Analysis
                                     6
                                                                i.     Parties’ “All or Nothing” Approach
                                     7
                                                 As noted at the outset, defendants argue that Section 230 bars plaintiffs’ product claims in
                                     8   their entirety both because they are based on defendants’ conduct as publishers of third-party
                                         content and plaintiffs’ harm is inextricably related to the third-party content they see on
                                     9
                                         defendants’ sites. Plaintiffs disagree, arguing they do not target publishing conduct.
                                    10
                                                Neither side persuades with its all or nothing approach. As described above, application of
                                    11   Section 230 is more nuanced. The Court must consider the specific conduct through which the
                                         defendants allegedly violated their duties to plaintiffs. Here, plaintiffs allege a wide array of
                                    12   conduct through which defendants allegedly failed in their duty to create a safe product for users
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                                         or to warn about defects. Accordingly, the Court uses a conduct-specific approach to the analysis.
                                    13

                                    14                          ii.    Claim 1: Negligent Design – Strict Liability and Claim 3:
                                                                       Negligence – Design
                                    15
                                                                       a. Defect Allegations Not Barred By Section 230
                                    16

                                    17           The Court begins with plaintiffs’ design defect products liability claims. As relevant
                                         thereto, plaintiffs make myriad allegations that do not implicate publishing or monitoring of third-
                                    18   party content and thus are not barred by Section 230. The defects pled as part of such allegations
                                         are not equivalent to speaking or publishing and can be fixed by defendants without altering the
                                    19   publishing of third-party content. They are, as identified by the Court:
                                    20          •   Not providing effective parental controls including notification to parents that children
                                    21              are using the platforms (MAC ¶ 845(b)–(c));
                                                •   Not providing options to users to self-restrict time used on a platform (id. at ¶ 845(f)–
                                    22              (g));
                                                •   Making it challenging for users to choose to delete their account (id. at ¶ 845(m));
                                    23          •   Not using robust age verification (id. at ¶ 845(a));
                                    24          •   Making it challenging for users to report predator accounts and content to the platform
                                                    (id. at ¶ 845(p));
                                    25          •   Offering appearance-altering filters (id. at ¶ 864(d));
                                                •   Not labelling filtered content (id. at ¶ 845(k));
                                    26          •   Timing and clustering notifications of defendants’ content to increase addictive use (id.
                                    27              at ¶ 845(l))
                                                •   Not implementing reporting protocols to allow users or visitors of defendants’
                                    28              platforms to report CSAM and adult predator accounts specifically without the need to
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                                                    create or log in to the products prior to reporting (id. at ¶ 845(p)).
                                     1

                                     2           The Court proceeds to consider defendants’ arguments relative to the above-referenced
                                         defects, to the extent defendants addressed them specifically. For instance, defendants do not
                                     3   directly address application of Section 230 to the parental control related defects.

                                     4           Defendants’ assertion that other courts have found age verification targeted claims barred
                                         by Section 230 does not persuade. Those cases are not controlling, and further, are consistent with
                                     5
                                         this Court’s position. MySpace, 528 F.3d 422, for example, did not find that defendants were
                                     6   immunized from claims that they should verify users’ ages. Rather, it held that Section 230
                                         immunized defendant from claims that it should have used age-verification to then limit platform
                                     7   access to children like plaintiff. Doe v. MySpace, Inc., 528 F.3d 413, 422 (5th Cir. 2008) (“We
                                         therefore hold, without considering the Does’ content-creation argument, that their negligence and
                                     8   gross negligence claims are barred by the CDA, which prohibits claims against Web-based
                                         interactive computer services based on their publication of third-party content.”).
                                     9

                                    10           Here, in contrast, plaintiffs’ allegations are broader. They allege that defendants could use
                                         age-verification information to take steps that would not impact their publication of third-party
                                    11   content, such as by notifying parents that a child is on the site, enabling the parent to either limit
                                         the child’s access to the site or talk to them about the content they may see. Accordingly, they
                                    12   pose a plausible theory under which failure to validly verify user age harms users that is distinct
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                                         from harm caused by consumption of third-party content on defendants’ platforms.
                                    13

                                    14           Again, defendants do not directly address plaintiffs’ filter-related allegations. Plaintiffs
                                         allege that defendants’ products are defective because they provide filters for children to use and
                                    15   because defendants do not label filtered images. Defendants ignore these allegations, arguing only
                                         that they cannot be liable for publishing content made using a filter. At the hearing, defendants
                                    16   did suggest that holding them liable for providing the filters is indistinguishable or inseparable
                                    17   from holding them liable for publishing the images created with those filters. The Court disagrees.
                                         Plaintiffs plausibly allege that the filters are harmful regardless of whether children eventually
                                    18   post the images that they filtered. Plaintiffs allege that children are harmed simply by creating and
                                         then seeing their own altered images. No posting or publication is necessary. There is a defect
                                    19   and a harm separate and apart from publication of any third-party content. Lemmon, 995 F.3d
                                         1092 (allowing product-defect claim based on speed filter not barred by Section 230 because
                                    20   “Snap's alleged duty in this case [] ‘has nothing to do with’ its editing, monitoring, or removing of
                                    21   the content that its users generate through Snapchat’”) (citation omitted).

                                    22           Next, Section 230 does not entirely immunize defendants from plaintiffs’ allegations
                                         respecting the ways in which defendants time and cluster notifications. (Id. at ¶ 845(l).) Some of
                                    23   the notifications at issue concern content created by defendants, not third parties. For example, the
                                         “awards” allegedly given by Snap fit within this category, as they allegedly are based on data
                                    24   collected and used by Snap and sent to users, and are not published at the request of a third-party
                                    25   content-creator. To the extent defendants send notifications of their own content, Section 230
                                         provides no immunity. Defendants “remain on the hook when they create or develop their own
                                    26   internet content.” Lemmon, 995 F.3d 1093.

                                    27           Finally, defendants have not addressed how altering the ways in which they allow users
                                         and visitors to their platforms to report CSAM is barred by Section 230. Defendants implied at
                                    28
                                         the hearing that making reporting more accessible would necessarily require them to remove
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                                         CSAM, in violation of Section 230. Not so. Receiving more reports does not require them to
                                     1   remove the content. They could respond by taking other steps, such as reporting the content to a
                                     2   government agency or providing relevant warnings.

                                     3           The motion to dismiss the product defect claims based on Section 230 is denied as to the
                                         defects listed above.
                                     4
                                                                       b.      Defect Allegations Barred By Section 230
                                     5

                                     6          By contrast, the following alleged design defects directly target defendants’ roles as
                                         publishers of third-party content and are barred by Section 230:
                                     7
                                                •    Failing to put “[d]efault protective limits to the length and frequency of sessions”
                                     8               (MAC ¶ 845(e));
                                     9          •    Failing to institute “[b]locks to use during certain times of day (such as during school
                                                     hours or late at night” (id. at ¶ 845(h));
                                    10          •    Not providing a beginning and end to a user’s “Feed”16 (id. at ¶ 845(i));
                                                •    Publishing geolocating information for minors (id. at ¶ 845(t));
                                    11          •    Recommending minor accounts to adult strangers (id. at ¶ 845 (u));
                                    12          •    Limiting content to short-form and ephemeral content, and allowing private content (id.
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                                                     at ¶ 864 (l); briefing, passim);
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                                    13          •    Timing and clustering of notifications of third-party content in a way that promotes
                                                     addiction (id. at ¶ 845(l)); and
                                    14          •    Use of algorithms to promote addictive engagement (id. at ¶ 845(j)).
                                    15
                                                 First, addressing the defects in paragraph 845 (e), (h), and (i) would necessarily require
                                    16   defendants to publish less third-party content.17 Unlike the opt-in restrictions described above,
                                         which allow users to choose to view or receive less content, but do not limit defendants’ ability to
                                    17   post such content on their platforms, these alleged defects would inherently limit what defendants
                                         are able to publish. Similarly, limiting publication of geolocation data provided by users to be
                                    18   published by the site inherently targets the publishing of third-party content and would require
                                    19   defendants to refrain from publishing such content.18

                                    20

                                    21
                                                16
                                                   This applies to the continual feed feature of Facebook and Instagram, as well as “auto-
                                         play” as used on the various platforms. (See ¶ 289 (as to Facebook and Instagram); ¶ 493 (as to
                                    22   Snap); ¶ 615 (as to TikTok); ¶¶ 731–35 (as to YouTube) and any other equivalent features.)

                                    23          17
                                                    Unlike with notifications, the MAC does not allege that any of the content at issue in
                                         plaintiffs’ feeds and private messages are created by defendants. The Court reads the MAC to
                                    24
                                         allege only that the messaging functions publish third-party content.
                                    25          18
                                                     While the Court finds this result self-evident based on application of the Ninth Circuit
                                    26   tests, it notes that conduct relative to geolocation has been repeatedly protected under Section 230.
                                         See Herrick v. Grindr LLC, 765 F. App’x 586, 590 (2d Cir. 2019) and Marshall’s Locksmith Serv.
                                    27   Inc. v. Google, LLC, 925 F.3d 1263, 1270‒71 (D.C. Cir. 2019). Other than generally critiquing
                                         defendants’ reliance on out of circuit authority, plaintiffs do not respond to these cases or to the
                                    28
                                         issue of geolocation at all. In the absence of Ninth Circuit authority, the Court finds these cases
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                                                 Second, Section 230 also immunizes defendants from allegations that they recommend
                                     1   adult accounts to adolescents. The publishing conduct covered by Section 230 immunity includes
                                     2   recommending content to users. Dyroff, 934 F.3d 1096. Plaintiffs do not dispute that user
                                         accounts or profiles are third-party “content” published by the platform.19 Thus, recommending
                                     3   one user’s profile to another is publishing of third-party content, which is entitled to Section 230
                                         immunity. See L.W. through Doe v. Snap Inc., 2023 WL 3830365, at *4 (S.D. Cal. June 5, 2023)
                                     4   (holding that claims based on SnapChat’s “QuickAdd function” for friending other users barred by
                                         Section 230); 20 accord generally Force v. Facebook, Inc., 934 F.3d 53 (2019). In essence, the
                                     5
                                         recommendation function challenged is indistinguishable from publishing, it is the means through
                                     6   which defendants publish third-party content to users. Plaintiffs do not explain how the alleged
                                         defects could be addressed without requiring defendants to change how they publish such content.
                                     7   Indeed, the only solution they suggest for addressing the alleged problems caused by the
                                         connection of child and adult profiles is to eliminate product features that recommend accounts
                                     8   between children and adult strangers.
                                     9
                                                 Lemmon, supra, and A.M. v. Omegle.com, LLC, 614 F. Supp. 3d 814 (D. Or. 2022) do not
                                    10   compel a different result. In both, the plaintiffs alleged the defendants had violated their duty to
                                         plaintiffs through conduct other than publishing third-party content and could have met their duty
                                    11   without changes to publishing conduct. In Lemmon, the plaintiffs alleged the speed filter was
                                         defective irrespective of content being posted or published and that defendants could have met
                                    12   their duty to create a safe product by no longer providing the filter, not by changing how they
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                                         publish any third-party content. Here, in contrast, plaintiffs have not alleged that the
                                    13
                                         recommendation functions are themselves dangerous, they allege they are dangerous because they
                                    14   recommend third-party content: adult profiles. Plaintiffs do not explain how such defect could be
                                         rectified other than through limitations on defendants’ publication of third-party content.
                                    15
                                                 Similarly, the plaintiff in Omegle alleged that the defendant’s product was defective
                                    16   because it randomly paired her to chat with an adult, who then abused her. The defendant argued
                                    17   that because it matched users in order for them to chat, it was acting as a publisher of third-party
                                         content (the conversation). The court disagreed. The recommendation of a chat partner was
                                    18   distinct from the recommendation or publication of content. Indeed, at the time the matching
                                         occurred, the “content” or conversation did not exist. Omegle, 614 F. Supp. 3d 820–21 (“Omegle
                                    19   has attempted to make this a case about [abuser’s] communications to the Plaintiff, but as
                                    20

                                    21   persuasive. They both apply the Roommates standard applied in the Ninth Circuit to similar
                                         factual allegations as those at issue here. Grindr, 765 F. App’x 591 (relying on Roommates);
                                    22   Marshall’s, 925 F.3d 1270 n. 5 (relying on Kimzey for same standard).

                                    23          19
                                                     See also Carafano, 339 F.3d 1124; Barnes, 570 F.3d 1103.
                                    24          20
                                                    Plaintiffs assert that L.W. was wrongly decided and misapplies Ninth Circuit precedent
                                    25   by holding that “a duty not to design features that [facilitate[] sex crimes against children,”
                                         [citation], is the same as a duty ‘to remove CSAM distributed . . . by third parties.” Opp.2 at 8–9
                                    26   (quoting L.W., 2023 WL 3830365, at *1, *4). This mischaracterizes L.W. The court there did not
                                         make such a sweeping generalization. Instead, it carefully applied Barnes and other precedent and
                                    27   held that the specific feature upon which plaintiffs based their claim was indistinguishable from
                                         publishing and that the only identified means to address the issue required alterations to the
                                    28
                                         publication of third-party content.
                                                                                           17
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                                         discussed above, Plaintiff's case does not rest on third party content. Plaintiff's contention is that
                                     1   the product is designed a way that connects individuals who should not be connected (minor
                                     2   children and adult men) and that it does so before any content is exchanged between them.”).
                                         There is no such distinction between the recommendation and publication of content here.
                                     3   Defendants recommend existing third-party content (profiles) to users, which is publishing
                                         conduct.
                                     4
                                                 Third, Section 230 also immunizes where the products are allegedly defective because they
                                     5
                                         provide short-form and ephemeral content. Editorial decisions such as determining the length of
                                     6   content published and how long to publish content are “traditional editorial functions” immune
                                         under Section 230, where exercised with regard to third-party content. Barnes, 570 F.3d 1102
                                     7   (stating publishing includes “deciding whether to publish, withdraw, postpone or alter content”
                                         and other of “‘publisher’s traditional editorial functions.’”) (quoting Zeran v. Am. Online, Inc.,
                                     8   129 F.3d 327, 330 (4th Cir. 1997)).
                                     9
                                                 Fourth, with respect to private messaging, plaintiffs cite no authority indicating that
                                    10   posting third-party content is not publishing where it is posted only to one other person. Indeed,
                                         when confronted with this exact question in Fields, the court held that private messaging functions
                                    11   do fall within the publishing umbrella. See, e.g., Fields v. Twitter, Inc., 217 F. Supp. 3d 1116,
                                         1128–29 (N.D. Cal. 2016), aff’d, 881 F.3d 739 (9th Cir. 2018) (“[A] number of courts have
                                    12   applied [Section 230] to bar claims predicated on a defendant’s transmission of nonpublic
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                                         messages.”).21
                                    13

                                    14           Fifth, where notifications are made to alert users to third-party content, Section 230 bars
                                         plaintiffs’ product defect claims. Dyroff, 934 F.3d 1093 (Section 230 barred claim against
                                    15   defendant for notifying users when other users posted content on a message-board). This includes
                                         notifications that someone has commented on or liked a user’s post.22
                                    16

                                    17         Sixth, to the extent plaintiffs challenge defendants’ use of algorithms to determine
                                         whether, when, and to whom to publish third-party content, Section 230 immunizes defendants.
                                    18
                                    19          21
                                                    Plaintiffs argue that Fields is not applicable here because plaintiffs there alleged only
                                         that Twitter was “liable for the substance of ISIS’s private messages.” Opp.2 at 13. Not so. The
                                    20   court held that Section 230 applied to the direct messaging capabilities generally, regardless of the
                                    21   content of those messages. Fields v. Twitter, Inc., 217 F. Supp. 3d at 1128, aff'd, 881 F.3d 739
                                         (9th Cir. 2018) (“Publishing activity under section 230(c)(1) extends to Twitter’s Direct
                                    22   Messaging capabilities.”)

                                    23          22
                                                    Plaintiffs do not allege that defendants modify or develop the content beyond deciding
                                         when to publish it to users, just that defendants make strategic decisions about when to publish
                                    24
                                         such notifications to users and whether to publish content to a given user. If plaintiffs alleged
                                    25   defendants altered the content in a material way, that would constitute development. See
                                         Roommates, 521 F.3d 1167 (“Roommate designed its search system so it would steer users based
                                    26   on the preferences and personal characteristics that Roommate itself forces subscribers to disclose.
                                         If Roommate has no immunity for asking the discriminatory questions, as we concluded above []
                                    27   it can certainly have no immunity for using the answers to the unlawful questions to limit who has
                                         access to housing.”).
                                    28
                                                                                           18
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                                         Whether done by an algorithm or an editor, these are traditional editorial functions that are
                                     1   essential to publishing. Further, plaintiffs identify no means by which defendants could fix this
                                     2   alleged defect other than by altering when, and to whom they publish third-party content.

                                     3           The parties’ cited cases support this approach. Courts addressing the use of an algorithm
                                         to connect a user with certain third-party content have found Section 230 provides immunity. 23
                                     4   See, e.g., Force v. Facebook, Inc., 934 F.3d 53, 66 (2d Cir. 2019) (claim based on Facebook
                                         algorithm that promoted terrorist content to some users because of data indicating interest or
                                     5
                                         engagement with such content barred by Section 230).
                                     6
                                                 Plaintiffs argue that their claims are distinct from those at issue in cases such as Force.
                                     7   They focus not on defendants’ conduct as publishers of third-party content but rather the process
                                         through which the decision to publish is made. Said differently, they argue that these algorithms
                                     8   are not formulated merely to connect people with content, rather they are crafted to increase the
                                         quantity of user interaction, regardless of content, with the platform and thus generate profit for
                                     9
                                         defendants. For example, while TikTok’s recommendation algorithm has some content-based
                                    10   metrics, it more heavily relies on non-content related data such as the length of time the user
                                         spends on a video. (MAC at ¶¶ 585–92.) As such, the algorithm is calibrated to show what a user
                                    11   is most likely to spend the most time watching, rather than the content they are most interested in
                                         viewing. Thus, the purpose of the algorithm is not “to curate information” but rather “to
                                    12   maximize the duration and intensity of children’s usage” of the platform. (Opp.2 at 11.) They
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                                         “challenge how Defendants have automated attention farming. They do not seek to change any
                                    13
                                         content on Defendants’ platforms.” (Id.)
                                    14
                                                 Plaintiffs’ framing does not change the analysis. Nothing in Section 230 or existing case
                                    15   law indicates that Section 230 only applies to publishing where a defendants’ only intent is to
                                         convey or curate information. To hold otherwise would essentially be to hold that any website
                                    16   that generates revenue by maintaining the interest of users and publishes content with the intent of
                                    17   meeting this goal, would no longer be entitled to Section 230 immunity. Regardless of
                                         defendants’ intent, they are executing it through conduct that is identical to publishing.24 Because
                                    18   plaintiffs do not show how the conduct at issue is distinct from determinations of what to publish
                                         and how, or that the alleged duty could be met other than by changing the way defendants’ publish
                                    19   third-party content, Section 230 bars the claim as to the recommendation algorithms.
                                    20        Accordingly, the motion to dismiss the product defect claims based on Section 230 is
                                    21   GRANTED as to the defects listed above.

                                    22
                                                23
                                                   To remind, this is not the case where the defendant allegedly developed the content. For
                                    23   example, in the unpublished Ninth Circuit decision Vargas v. Facebook, Inc., 2023 WL 6784359
                                         (9th Cir. Oct. 13, 2023), the court held defendant was liable for selectively publishing housing
                                    24
                                         advertisements where Facebook had created the tools to selectively send advertisements based on
                                    25   unlawful criteria (e.g., race, familial status).
                                                24
                                    26              As such, this is distinguishable from Lemmon. As noted, the Ninth Circuit did not treat
                                         Snap as a publisher or speaker because the claim at issue did not target to publication of third-
                                    27   party content (the plaintiffs’ children’s use of the speed filter) and thus Snap could have satisfied
                                         its alleged duty without changes to publication of third-party content (removing the filter, created
                                    28
                                         by Snap not a third party, from the app).
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                                                               iii.    Claim 2: Strict Liability – Failure to Warn and Claim 4: Negligence
                                     1                                 – Failure to Warn
                                     2
                                                 Claims 2 and 4 allege that defendants distributed defective and unreasonably dangerous
                                     3   products without adequately warning users of risks including risk of abuse, addiction, and
                                         compulsive use. The Court defines the risks are those created by the defects addressed in claims 1
                                     4   and 2. Defendants do not brief application of Section 230 to any of the failure to warn claims.
                                         This alone is a basis to deny the motion as to these claims. In any event, the Court finds these
                                     5
                                         claims plausibly allege that defendants are liable for conduct other than publishing of third-party
                                     6   content and that they could address their duty without changing what they publish. The duty
                                         arises not from their publication of conduct, but from their knowledge, based on public studies or
                                     7   internal research, of the ways that their products harm children. Plaintiffs allege through these
                                         claims that defendants could meet this duty without making any changes to how they publish
                                     8   content, by providing warnings for any and all of the alleged defects.
                                     9
                                                               iv.     Claim 5: Negligence Per Se
                                    10
                                                 Plaintiffs’ negligence per se claim is based on defendants’ alleged violations of COPPA
                                    11   and the Protect Act. Defendants do not address application of Section 230 to the negligence per se
                                         claim beyond asserting that it is barred because the harm alleged is inextricable from third-party
                                    12   content published by defendants. As already addressed, this is not an adequate basis for Section
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                                         230 immunity. Plaintiffs allege that defendants violated the Protect Act by failing to make
                                    13
                                         required reports of CSAM and by allowing too many of their employees to access CSAM on the
                                    14   platform. Neither of these alleged duties derive from defendants’ status as publishers. Plaintiffs
                                         do not allege that defendants violated the Protect Act by publishing CSAM, but because they
                                    15   failed in their separate, non-publishing duty to report such content. Limiting employee access to
                                         CSAM also has nothing to do with the publication of such content.
                                    16

                                    17           The alleged COPPA violations also do not treat defendants as publishers. The claim
                                         alleges defendants failed to provide required notice and obtain parental consent before collecting
                                    18   certain information from children. That in no way impacts their role as publishers of third-party
                                         content.
                                    19
                                                Accordingly, the Court FINDS no Section 230 immunity as to the negligence per se claim.
                                    20

                                    21          IV.     FIRST AMENDMENT

                                    22                  A.     Overview and Legal Framework

                                    23           Defendants broadly assert that the First Amendment entirely bars plaintiffs’ claims in that
                                         it “precludes tort liability for protected speech, including choices about presenting and
                                    24   disseminating content.” MTD2 at iii (cleaned up). As discussed, myriad allegations do not seek
                                    25   to hold defendants liable for protected speech. Defendants’ all or nothing approach therefore fails.

                                    26           “The Free Speech Clause of the First Amendment . . . can serve as a defense in state tort
                                         suits.” Snyder v. Phelps, 562 U.S. 443, 451 (2011). “[A]s a general matter, . . . government has no
                                    27   power to restrict expression because of its message, its ideas, its subject matter, or its content.”
                                         Brown v. Ent. Merchants Ass’n, 564 U.S. 786, 790–91 (2011) (citation omitted). “‘[T]he basic
                                    28
                                         principles of freedom of speech and the press, like the First Amendment’s command, do not vary
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                                         when a new and different medium for communication appears.”25 Id. at 790 (citation omitted).
                                     1   Additionally, under the First Amendment, “the creation and dissemination of information are
                                     2   speech . . . .” Sorrell v. IMS Health Inc., 564 U.S. 552, 570 (2011); Bartnicki v. Vopper, 532 U.S.
                                         514, 527 (2001) (“[I]f the acts of ‘disclosing’ and ‘publishing’ information do not constitute
                                     3   speech, it is hard to imagine what does fall within that category.”) (citation omitted).
                                         Dissemination of speech is different from “expressive conduct,” which is conduct that has its own
                                     4   expressive purpose and may be entitled to First Amendment protection. Id. (stating that disclosing
                                         or publishing of information is “distinct from the category of expressive conduct”).
                                     5

                                     6           That said, “well-defined and narrowly limited classes of speech” provide exceptions to
                                         First Amendment protections. Brown, 564 U.S. 791. For instance, obscenity, fighting-words, and
                                     7   incitement may go beyond the protection of free speech. Id. Further, First Amendment rights may
                                         also be subject to reasonable time, place, and manner restrictions. As the parties have not argued
                                     8   any of these limitations are relevant here, the Court does not address them further.
                                     9
                                                        B.      Design Defect Claims (Claims 1 & 3)
                                    10
                                                 Defendants argue that the First Amendment protects them from liability for the speech they
                                    11   publish as well as for all choices they have made in disseminating them. Even adopting this
                                         premise in full, much of the conduct alleged by plaintiffs does not constitute speech or expression,
                                    12   or publication of same. Indeed, defendants’ briefing ignores these defects and does not explain
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                                         how holding them liable in that context would be akin to making them liable for speech.
                                    13

                                    14           First, several of the defects relate to how users interact with the platforms. As the Court
                                         has already found certain defect allegations barred under Section 230, it only addresses those that
                                    15   remain:
                                    16          •    Not providing effective parental controls including notification26 to parents that
                                    17               children are using the platforms (MAC at ¶¶ 845(b)–(c));
                                                •    Not providing options to users to self-restrict time used on a platform (id. at ¶¶ 845(f)–
                                    18               (g));
                                                •    Making it challenging for users to choose to delete their account (id. at ¶ 845(m));
                                    19          •    Not using robust age verification (id. at ¶ 845(a)); and
                                    20          •    Not implementing reporting protocols to allow users or visitors of defendants’
                                                     platforms to report CSAM and adult predator accounts specifically without the need to
                                    21               create or log in to the products prior to reporting (Id. at ¶ 845(p)).

                                    22           Addressing these defects would not require that defendants change how or what speech
                                         they disseminate. For example, parental notifications could plausibly empower parents to limit
                                    23
                                         their children’s access to the platform or discuss platform use with them. Providing users with
                                    24

                                    25          25
                                                  As such, plaintiffs’ hyperbolic argument that finding First Amendment protection here
                                    26   would “bend the law beyond its breaking point” because it would be addressing novel questions
                                         regarding what constitutes speech and expressive content on the internet is overstated.
                                    27
                                                26
                                                  Defendants raise no arguments regarding whether the First Amendment protects them
                                    28
                                         from having to give notices or warnings. Thus, the Court considers none.
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                                         tools to limit the amount of time they spend on a platform does not alter what the platform is able
                                     1   to publish for those that choose to visit it. As discussed with regard to Section 230, allowing users
                                     2   to report CSAM is not the same as requiring defendants to monitor or remove CSAM. The motion
                                         to dismiss on First Amendment grounds is DENIED as to these defects.
                                     3
                                                  Second, plaintiffs’ filter-related defects identified in ¶ 845(k) and ¶ 864(d) of the MAC
                                     4   also survive at this stage. Defendants raise no arguments regarding how the First Amendment
                                         protects them from having to label filtered content. Instead, plaintiffs focus on the filters
                                     5
                                         themselves, arguing that they are “tools” to enable users to “modify[] their own expression,” and
                                     6   to “facilitate interactive speech.” Defendants disagree and submit the First Amendment protects
                                         the filters in the same way a magazine’s use of “computer technology to alter famous film stills”
                                     7   for fashion photography is protected. (MTD2 at 20 (citing Hoffman v. Capital Cities/ABC, Inc.,
                                         255 F.3d 1180, 1183 (9th Cir. 2001).)
                                     8
                                                 The Court is not persuaded. In Hoffman the Ninth Circuit found the images and alteration
                                     9
                                         of those images were protected by the First Amendment, not the computer editing technology that
                                    10   created the speech. It was the images, the speech, that was protected. Defendants make a
                                         distinctly different argument here. They do not allege that they created the filters with any
                                    11   expressive intent or that the filters are in any way their own “speech.” Based on defendants’ own
                                         description, the filters are neutral, non-expressive tools provided by defendants. They are not
                                    12   entitled to First Amendment protection. The motion to dismiss on First Amendment grounds is
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                                         DENIED as to the filter defects.
                                    13

                                    14           Third, the timing and clustering of notifications of defendants’ content to increase
                                         addictive use (id. at ¶ 845(l)) is entitled to First Amendment protection. There is no dispute that
                                    15   the content of the notifications themselves, such as awards, are speech. The Court conceives of no
                                         way to interpret plaintiffs’ claim with respect to the frequency of the notifications that would not
                                    16   require defendants to change when and how much they publish speech. This is barred by the First
                                    17   Amendment. Bartnicki, 532 U.S. 527. Accordingly, the Court finds that the First Amendment
                                         protects defendants for the timing and clustering of notifications they publish to users regarding
                                    18   content created by defendants themselves. These are fundamentally choices about when and to
                                         whom to publish content notifications. The motion to dismiss the product defect claims as to this
                                    19   defect is GRANTED.
                                    20           In summary, with respect to the identified defects, the First Amendment only affords
                                    21   protection with respect to the timing and clustering notifications of defendants’ content to increase
                                         addictive use (MAC at ¶ 845(l)); otherwise, it does not.
                                    22
                                                        C.      Failure to Warn Claims (Claims 2 & 4)
                                    23
                                                 As plaintiffs raise in their opposition, defendants’ motion did not raise any arguments
                                    24   specifically addressing application of the First Amendment to failure to warn claims. For the first
                                    25   time on reply defendants attempt to distinguish plaintiffs’ cases and cite other First Amendment
                                         cases focused on the duty to warn where the alleged danger is caused by defendant’s publication or
                                    26   dissemination of speech. Even if this were not procedurally improper, the cited cases are not
                                         dispositive. Finding the issue effectively waived by defendants at this stage, and not fully briefed,
                                    27   the Court DENIES any belated motion on First Amendment grounds as to the failure to warn claims.
                                    28
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                                                        D.      Claim 5: Negligence Per Se
                                     1

                                     2          Defendants did not raise any arguments on First Amendment grounds with respect to the
                                         negligence per se claim. Plaintiffs identify this issue and defendants remain silent in reply. The
                                     3   Court deems the silence as a concession that the First Amendment does not bar this claim and
                                         DENIES the motion to dismiss this claim on First Amendment grounds.
                                     4
                                                V.      PRODUCTS LIABILITY: WHETHER THE DEFECTS ALLEGED CONCERN
                                     5
                                                        “PRODUCTS”
                                     6
                                                 Having determined the applicability of Section 230 and the First Amendment to all of
                                     7   plaintiffs’ claims, the Court turns next to plaintiffs’ products liability claims, specifically (Priority
                                         Claims 1–4). Given the lack of sufficient briefing, other issues related to plaintiffs’ negligence per
                                     8   se claims will be addressed in a separate, subsequent order.
                                     9
                                                                                    *       *       *
                                    10
                                                Plaintiffs state both design defect and failure to warn claims relative to defendants’
                                    11   platforms. As discussed at length at the hearing, the claims are predicated upon the existence of a
                                         “product.” Thus, the Court begins there.27
                                    12
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                                                        A.      Background
                                    13

                                    14                          i.      Overview of Parties’ Arguments

                                    15            As in the Section 230 context, the parties proceed with an “all or nothing” approach to
                                         determining whether defendants’ social media platforms are products. Defendants seek dismissal on
                                    16   the basis that (i) their platforms are services, not products; and (ii) even if they are not services,
                                    17   plaintiffs’ allegations primarily concern access to and distribution of content posted on the platforms,
                                         which cannot form the basis of a cognizable products liability claim. Plaintiffs emphasize that they
                                    18   do not claim that content caused them harm; instead, they purport to challenge design choices by
                                         defendants regarding various features of their respective platforms’ user interfaces.
                                    19
                                                These approaches are overly simplistic and misguided. While acknowledging that these
                                    20   proceedings implicate novel questions of law, including the applicability of products liability torts
                                    21
                                                27
                                    22             Parties agree that strict products liability claims are not cognizable under the laws of
                                         Massachusetts, Michigan, North Carolina, and Virginia. Compare MTD1 at 14 n.9 with Pls’
                                    23   Opp’n at 22 n.8. Any strict products liability claims brought under the laws of these states are
                                         therefore DISMISSED WITH PREJUDICE. Parties disagree as to whether products liability claims
                                    24
                                         are available to plaintiffs bringing suit under the laws of Alabama and Delaware. The Court
                                    25   declines to resolve those state-specific disputes at this early stage given the brevity of briefing.

                                    26           Separately, parties agree that product-based negligence claims are not cognizable under the
                                         laws of Connecticut, Louisiana, New Jersey, Ohio, and Washington. Compare MTD1 at 14:10 &
                                    27   n. 9 with Pls’ Opp’n at 22:14 & n. 8 and Defs’ Reply at 3:5 & n.1. Any product-based negligence
                                         claims brought under the laws of these states are similarly DISMISSED WITH PREJUDICE.
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                                         to the digital world, the parties repeatedly downplay nuances in the caselaw and the facts. The
                                     1   Court declines to adopt either party’s desired approach. Cases exist on both sides of the questions
                                     2   posed by this litigation precisely because it is the functionalities of the alleged products that must
                                         be analyzed.28 This is borne out in the cases relied upon by all parties. The cases generally
                                     3   concern a specific product defect and the determination of whether a specific technology is a
                                         product hinges on the specifics of that defect. The same applies here. The Court determines it is
                                     4   necessary to analyze each defect pled by plaintiffs to determine whether they have adequately
                                         alleged the existence of a product (or products).
                                     5

                                     6                          ii.     The Court’s Approach to Analyzing Such Arguments

                                     7           Given the parties’ tactical choices, it is not surprising that neither provides a
                                         comprehensive legal framework through which the Court can assess what is and is not a
                                     8   “product.” Further, despite plaintiffs having identified Georgia and New York as their preferred
                                         states for the challenged products liability claims, parties rely on cases from various
                                     9
                                         jurisdictions.29 They spend little time analyzing plaintiffs’ claims under Georgia or New York
                                    10   law, and they provide limited insights as to how the laws of those states compare to others.

                                    11
                                                28
                                                    Parties cite myriad cases arguing they definitively establish that defendants’ platforms
                                    12   are, or are not, at a global level, products. Many of these cases do not actually analyze whether
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                                    13   the technology at issue is a product; others merely conclude, without meaningful analysis, that
                                         certain technologies are services, not products. See, e.g., Jacobs v. Meta Platforms, Inc., 2023 WL
                                    14   2655586 (Cal. Super. Ct. Mar. 10, 2023) (holding Facebook is more akin to a service, with
                                         minimal analysis); Grossman v. Rockaway Twp., 2019 WL 2649153 (N.J. Super. Ct. June 10,
                                    15   2019) (declining to “reach a definitive conclusion” on the question of whether Snapchat is a
                                         product); Wickersham v. Ford Motor Co., 194 F.Supp.3d 434 (D.S.C. 2016) (suggesting that an
                                    16   algorithm that comprises part of a Ford truck’s airbag deployment system is a product but doing so
                                    17   only in the context of assessing whether plaintiffs’ adequately pled the existence of qualifying
                                         alternative designs); Crouch v. Ruby Corp., 639 F.Supp.3d 1065 (S.D. Cal. 2022) (observing, in
                                    18   the context of a gender discrimination suit, that an online dating site sells a service, not a product);
                                         In re MyFord Touch Consumer Litig., 2016 WL 7734558 (N.D. Cal. Sept. 14, 2016) (certifying a
                                    19   class of individuals who purchased Ford vehicles containing an “infotainment” system and stated
                                         strict products liability claims regarding such system; declining to conduct a robust analysis of
                                    20   whether the infotainment system is in fact a product); Hardin v. PDX, Inc., 227 Cal.App.4th 159
                                    21   (2014) (denying an anti-SLAPP motion, noting that whether the at-issue technology was a
                                         product was not argued, and declining to reach a conclusion as to the product question). The cases
                                    22   do not stand for the proposition that products should be analyzed at a global level. Rather, as
                                         explained, they are best understood in terms of the functionality which was causing the alleged
                                    23   harm.
                                    24          29
                                                   Plaintiffs specified their priority claims and preferred law relative to those claims. They
                                    25   selected New York law for their strict products liability claims (Priority Claims 1–2) and Georgia
                                         law for their product-based negligence claims (Priority Claims 3–4). See Dkt. No. 131. As
                                    26   previously explained, the application of these states’ laws was intended to promote judicial
                                         efficiency in addressing the many claims and jurisdictions implicated by this litigation. Parties
                                    27   nonetheless pay short shrift to the law of these jurisdictions, seldom addressing either. To the
                                         extent they do, it is almost exclusively in footnotes.
                                    28
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                                         Thus, the Court begins by setting out a framework, then applies it to plaintiffs’ alleged defects.
                                     1

                                     2           As stated above, many of plaintiffs’ alleged defects are barred by Section 230 or the First
                                         Amendment. The Court therefore limits its analysis of plaintiffs’ products liability claims to the
                                     3   subset of defects that are not barred, which are:

                                     4          (i)    failure to implement robust age verification processes to determine users’ ages;
                                                (ii)   failure to implement effective parental controls;
                                     5
                                                (iii)  failure to implement effective parental notifications;
                                     6          (iv)   failure to implement opt-in restrictions to the length and frequency of use sessions;
                                                (v)    failure to enable default protective limits to the length and frequency of use
                                     7                 sessions;
                                                (vi)   creating barriers that make it more difficult for users to delete and/or deactivate
                                     8                 their accounts than to create them in the first instance;
                                                (vii) failure to label content that has been edited, such as by applying a filter;
                                     9
                                                (viii) making filters available to users so they can, among other things, manipulate their
                                    10                 appearance; and
                                                (ix)   failure to create adequate processes for users to report suspected CSAM to
                                    11                 defendants’ platforms.
                                    12                  B.      Legal Framework
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                                    13
                                                                i.     Plaintiffs’ Preferred Law
                                    14
                                                 The Court begins with plaintiffs’ preferred law. Neither Georgia nor New York have
                                    15   codified definitions of what constitutes a “product” for the purpose of applying the doctrine of
                                         products liability.30 In the absence of such definitions, the Court looks to well-accepted
                                    16   persuasive authority concerning the scope of a “product.” This is especially appropriate where, as
                                    17   here, the technologies at issue are emergent. To that end, the Court finds both Georgia and New
                                         York courts have turned to the Third Restatement of Torts when assessing products liability
                                    18   claims. See, e.g., Matter of Eighth Jud. Dist. Asbestos Litig., 33 N.Y.3d 488, 493-94 (2019)
                                         (noting that “none of our strict liability case law provides a clear definition of a ‘product’” and
                                    19   approvingly citing to commentary to the Third Restatement); Johns v. Suzuki Motors of America,
                                         Inc., 310 Ga. 159 (2020); Banks v. ICI Americas, Inc., 264 Ga. 732 (1994).31
                                    20

                                    21          30
                                                     The Court is satisfied, based on its own limited analysis of Georgia and New York law,
                                    22   that neither state’s strict products liability frameworks define the scope of a “product.” Georgia’s
                                         strict liability statute does not define the “products” to which it applies. See Ga. Code Ann. § 51-
                                    23   1-11; see also id. at § 51-1-11.1 (defining the scope of the “product sellers” to whom Georgia’s
                                         strict products liability law applies, without defining the scope of the products or property to
                                    24
                                         which it applies). New York does not appear to have a strict liability statute; instead, the state
                                    25   high court created a cause of action for strict products liability in a seminal 1973 decision. See
                                         Codling v. Paglia, 32 N.Y.2d 330, 335 (1973) (“We hold that today the manufacturer of a
                                    26   defective product may be held liable to an innocent bystander, without proof of negligence, for
                                         damages sustained in consequence of the defect.”).
                                    27
                                                31
                                                 While the Court was unable to identify a Georgia case that cites specifically to the Third
                                    28
                                         Restatement’s definition of a product, the Court is satisfied that the Georgia Supreme Court has
                                                                                          25
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                                                 The Court is satisfied, on this basis, that applying the approach taken by the Restatement is
                                     1   in keeping with approaches likely to be taken by the respective high courts of states of plaintiffs’
                                     2   preferred law. In particular, use of the Third Restatement of Torts is consistent with this Court’s
                                         obligation “to predict’ how the state high court would rule” based on the information available. In
                                     3   re Lithium Ion Batteries Antitrust Litig., 2014 WL 4955377 (N.D. Cal. Oct. 2, 2014) (citing Hayes
                                         v. Cnty. of San Diego, 658 F.2d 867, 871 (9th Cir. 2011)).32
                                     4
                                                                ii.     Restatements of Torts
                                     5

                                     6          The Restatements of Torts collectively reflect the evolution of the doctrine of strict
                                         products liability over time. For instance, the Second Restatement of Torts focused on
                                     7   individuals who “sell[] any product in a defective condition unreasonably dangerous to the user
                                         or consumer or to his property.” Restatement (Second) of Torts § 402A(1) (AM. LAW. INST.
                                     8   1965) (hereinafter, “Second Restatement”). Such individuals or entities were liable for
                                         physical harm caused by their products where they “engaged in the business of selling such a
                                     9
                                         product” and the product was “expected to and [did] reach the user or consumer without
                                    10   substantial change in the condition in which it [was] sold.” Id. at § 402A(1)(a)-(b). The
                                         Second Restatement did not, however, define what constituted a “product,” nor did the
                                    11   accompanying commentaries. 33 See generally id. at § 402A.
                                    12
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                                    13
                                         repeatedly referenced the Third Restatement or a draft thereof when resolving novel issues in the
                                    14
                                         past. See Banks, 264 Ga. at 734 (reviewing the ways “foreign jurisdictions and learned treatises”
                                    15   assess whether “a product’s design specifications [are] partly or totally defective”). The Court
                                         finds further support for its approach in parties’ own briefs. For instance, plaintiffs’ Opposition
                                    16   notes that defendants acknowledge that Georgia looks to the Third Restatement for guidance
                                         regarding the impact of “tangibility” on the products analysis. Pls’ Opp’n at 24:8 & n. 8.
                                    17   Defendants do not respond to this argument in their Reply. The Court construes the silence as a
                                         concession.
                                    18
                                    19          As to New York, plaintiffs explicitly address the applicability of the Third Restatement in
                                         the appendix to their Opposition brief, writing, “There is no clear definition of ‘product’ [under
                                    20   New York law], but courts have looked to the Third Restatement for guidance.” Pls’ Opp’n at
                                         92:9–11. Again, defendants do not respond, which the Court deems a concession.
                                    21
                                                32
                                                    Further, neither party has articulated any reason why this Court should not apply the
                                    22   Restatement’s framework to plaintiffs’ claims, despite having ample opportunity to do so at the
                                         hearing, at which the Court explained its view as to the appropriate legal framework. Indeed, both
                                    23   parties refer to the Restatement in their briefs and analyze the pending motions thereunder.
                                    24          33
                                                   At times, plaintiffs argue from the Second rather than the Third Restatement. For
                                    25   instance, plaintiffs argue that the Second Restatement, unlike the Third Restatement, does not
                                         address tangibility. Instead, it refers to products liability for “any product which, if it should prove
                                    26   to be defective, may be expected to cause physical harm to the consumer or his property.” Pls’
                                         Opp’n at 24:18–20 (quoting Second Restatement § 402A(1) & cmt. b). In general, the Third
                                    27   Restatement builds upon, and extends, the Second. Thus, the definition of “product” in the Third
                                         Restatement is what controls here.
                                    28
                                                                                           26
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                                                The Third Restatement, published in 1998, did include a definition of “products” for
                                     1   purposes of products liability actions. This definition reads:
                                     2
                                                (a) A product is tangible personal property distributed commercially for use or
                                     3              consumption. Other items, such as real property and electricity, are products when the
                                                    context of their distribution and use is sufficiently analogous to the distribution and use
                                     4              of tangible personal property that it is appropriate to apply the rules stated in th[e]
                                                    Restatement.
                                     5
                                                (b) Services, even when provided commercially, are not products.34
                                     6          (c) Human blood and human tissue, even when provided commercially, are not subject to
                                                    [the] Restatement.
                                     7
                                         Restatement (Third) of Torts § 19(a) (AM. LAW. INST. 1998) (hereinafter, “Third Restatement”).
                                     8   This definition as well as the Restatement’s explanatory notes identify three circumstances in
                                         which intangible things may be deemed “products.” To summarize:
                                     9

                                    10          First, intangible things can be products when analogized to “tangible personal property”
                                         based on “the context of [its] distribution and use.” Id.
                                    11
                                                Second, strict products liability has been imposed in unique circumstances where harm is
                                    12   caused by (i) the distribution of objectively false information or (ii) electricity. Courts have
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                                         attached products liability to “maps and navigational charts” containing “false information.”35 Id.
                                    13
                                         & cmt. d. They have also done so with respect to certain intangible forces, such as electricity.
                                    14   Specifically, “a majority of courts have held that electricity becomes a product when it passes
                                         through the customer’s meter and enters the customer’s premises.” Id. (cleaned up).
                                    15
                                                  Third, the Restatement clarifies that ideas, content, and free expression have consistently
                                    16   been held not to support a products liability claim. The seminal case of Winter v. G.P. Putnam’s
                                    17   Sons, 938 F.2d 1033 (9th Cir. 1991) illustrates the point. There, plaintiffs were mushroom
                                         enthusiasts who become severely ill after eating wild mushrooms they identified as non-dangerous
                                    18   based on a reference book. Id. at 1033. They subsequently sued the book’s publisher under a
                                         strict products liability theory, alleging the book was defectively designed in that it contained
                                    19

                                    20          34
                                                   This bar extends to “professionally-provided services, such as medical or legal help” as
                                    21   well as to services related to products, such as their “installation or repair.” Third Restatement
                                         § 19(a) & cmt. f; see also id. at Reporters’ Note, cmt. f.
                                    22
                                                35
                                                    The Restatement nonetheless cautioned that “the better view [of such maps and
                                    23   navigational charts] is that false information in such documents constitutes a misrepresentation
                                         that the user may properly rely upon.” Id. at § 19(a) & cmt. d. Nonetheless, the courts concluded
                                    24
                                         that unlike other content, defects in maps and charts are “unambiguous” and are therefore “more
                                    25   akin to a classic product defect” than alleged defects implicating other forms of content or the
                                         interpretation thereof. For example, a captain of a ship navigating poor visibility near a harbor
                                    26   might rely on mass-marketed nautical maps to discern the depths of the ocean floor and to guide
                                         their ship to safely to shore. Were the map to inaccurately reflect the depths through which the
                                    27   captain traveled, the ship and the well-being of those aboard could be severely threatened. The
                                         contents of the map are therefore distinguishable from, for instance, the contents of a work of
                                    28
                                         fiction, whose accuracy is not presumed nor relied upon as are navigational maps and charts.
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                                         erroneous and misleading information about the identification of deadly mushrooms. Id. at 1034.
                                     1   The district court granted summary judgment to the book publisher finding that the content of the
                                     2   book (i.e., whether a specific mushroom was safe to eat) was not a product. The Ninth Circuit
                                         affirmed. Id. at 1034, 1036-38.
                                     3
                                                The Ninth Circuit’s opinion in Winter is routinely cited for the proposition that ideas,
                                     4   thoughts, and free expression cannot form a product upon which a products liability can be based.
                                         The Ninth Circuit begins with a statement of first principles:
                                     5

                                     6          A book containing Shakespeare’s sonnets consists of two parts, the material and print
                                                therein, and the ideas and expression thereof. The first may be a product, but the second is
                                     7          not. The latter, were Shakespeare alive, would be governed by copyright laws[, among
                                                others.] These doctrines applicable to the second part are aimed at the delicate issues that
                                     8          arise with respect to intangibles such as ideas and expression. Products liability law is
                                                geared toward to the tangible world.
                                     9

                                    10   Id. at 1034 (emphasis supplied). The court applied this framework to the mushroom reference
                                         book. Id. at 1034-36. Following the logic excerpted above, the Ninth Circuit allowed that the
                                    11   mushroom reference book itself could be a product, although its contents, as “pure thought and
                                         expression,” were not. Id. at 1035-36.
                                    12
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                                                 The logic of Winter has been repeatedly reaffirmed in the case law. For instance, roughly
                                    13
                                         ten years after Winter was decided, the Sixth Circuit relied upon its framework in a case involving
                                    14   claims more akin to those presently before the Court, i.e., one involving the digital world. See
                                         James v. Meow Media, Inc., 300 F.3d 683 (6th Cir. 2002) (affirming James v. Meow Media, Inc.,
                                    15   90 F.Supp.2d 798, 800 (W.D. Ky. 2000)). There, a 14-year-old student shot, wounded, and killed
                                         his high school classmates. Parents brought suit against entities that developed and distributed
                                    16   violent online content which the assailant consumed through video games and movies. 90
                                    17   F.Supp.2d at 809. They alleged that the “inherent dangerousness” of the content rendered it a
                                         “product” for which its developers should be held strictly liable. Id. The trial court disagreed,
                                    18   dismissing plaintiffs’ products liability claims on the grounds that “intangible thoughts, ideas, and
                                         expressive content are not ‘products’ within the realm of the strict liability doctrine.” Id. at 810-
                                    19   11. The Sixth Circuit ultimately affirmed. See James, 300 F.3d at 701 (quoting Watters v. TSR,
                                         904 F.2d 378 (6th Cir. 1990)) (“The video game cartridges, movie cassette, and internet
                                    20   transmissions are not sufficiently ‘tangible’ to constitute products in the sense of their
                                    21   communicative content.”) (cleaned up).)

                                    22                  C.      Analysis

                                    23           The Court uses the legal framework outlined above to analyze plaintiffs’ products liability
                                         claims. First, the Court uses the framework to address the parties’ “all or nothing” approach to
                                    24   whether defendants’ platforms are products. In this regard, the Court considers whether
                                    25   defendants’ platforms are: (1) services; (2) tangible; (3) analogous to tangible personal property;
                                         (4) akin to ideas, content, and free expression upon which products liability claims cannot be
                                    26   based; and/or (5) akin to “software,” and should, on that basis, be treated as products. Second, the
                                         Court conducts an analysis of the functionalities of defendants’ platforms challenged by plaintiffs.
                                    27
                                                ///
                                    28
                                                ///
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                                                                i.      Parties’ “All or Nothing” Approach
                                     1

                                     2                                  a. Whether Defendants’ Platforms are Services

                                     3            The parties dispute whether defendants’ platforms should be classified globally as services,
                                         not products. On the one hand, defendants maintain that the platforms are simply “interactive
                                     4   communication services.” (MTD1 at 3:3.) Because they merely allow “users to communicate
                                         with each other or to interact with other users’ content,” they cannot be subject to products
                                     5
                                         liability. (Id. at 15:2-3.) On the other hand, plaintiffs urge that, whether or not defendants also
                                     6   provide services to consumers, their platforms, as pled, are products. Caselaw to the contrary
                                         amounts to nothing more than unreasoned “statements that an app is a service.” Further,
                                     7   defendants themselves, publicly and privately, describe the platforms as “products” and should be
                                         held to those representations.
                                     8
                                                  These arguments are wanting. As to defendants, a review of the cases reveals that, where
                                     9
                                         courts actually considered whether web-based platforms such as defendants’ are services, they
                                    10   offered minimal, if any, rationale for such classifications.36 This is presumably because the issue
                                         appeared either obvious or was not contested. Plaintiffs meanwhile fail to persuade that
                                    11   defendants transfigure their platforms into “products” simply by using the word “product” in
                                         internal and external communications.37 (See generally MAC ¶¶ 171–80). Hiring “Product
                                    12   Managers” to work on a platform does not render that platform a product. See e.g., Jacobs, 2023
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                                         WL 2655586, at *3 & n.1 (“[T]he use by Facebook of the term ‘product’ does not resolve the
                                    13
                                         question of whether Facebook represents a ‘product’ for the purposes of [the at-issue products
                                    14   liability claims].”) In myriad circumstances, courts look to the substance of an issue, not merely
                                         the label. A label can be a factor, but without more, is hollow. The Court will not rest its analysis
                                    15

                                    16          36
                                                     Take for instance, Jackson. There, a 17-year-old shot and killed another using a gun
                                    17   purchased on Snapchat while staying at an Airbnb property. Jackson v. Airbnb, Inc., 639 F. Supp.
                                         3d 994, 1000 (C.D. Cal. 2022). Decedent’s mother sued Airbnb on a products liability claim,
                                    18   which the court did not consider on the basis that Airbnb was “more akin to a service than a
                                         product.” Id. at 1011. The court provided no meaningful analysis of why Airbnb was more like a
                                    19   service than a product. Id. Other, similar cases are Quinteros, Burghart, Jacobs, and Zienick.
                                         See, e.g., Quinteros v InnoGames, 2022 WL 898560, at *7 (W.D. Wash. Mar. 28, 2022) (concluding
                                    20   that an online game called Forge of Empires, “as plead in [that] case,” was “software as a service,” not
                                    21   a product); Burghart v. South Correctional Entities, 2023 WL 1766258, at *3 (W.D. Wash. 2023)
                                         (applying Quinteros to hold that an electronic health software system used to monitor prisoners’
                                    22   medical conditions at a jail was “software-as-service” technology, not a product); Jacobs v. Meta
                                         Platforms, Inc., 2023 WL 2655586, at *4 (Cal. Super. Ct. Mar. 10, 2023) (relying on Jackson, the
                                    23   court found “that, as a social media platform that connects its users, Facebook is more akin to a service
                                         than a product.”); Zienick v. Snap, Inc., 2023 WL 2638314, at *4 (C.D. Cal. Feb. 3, 2023) (“Snapchat
                                    24
                                         is more like a service than a product, and services are not subject to the laws of strict products
                                    25   liability.”)

                                    26          37
                                                  For instance, it is surely not the case that hiring “Product Managers” to work on a
                                         platform makes that platform a product in a legal sense. See MAC ¶ 175 (“Defendants employ
                                    27   ‘product managers’ and have established ‘product teams’ responsible for the development,
                                         management, operation, and marketing of their apps.”)
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                                         purely on a label. Accordingly, parties’ global arguments as to whether defendants’ platforms are
                                     1   services do not resolve this dispute.
                                     2
                                                                         b.      Whether Defendants’ Platforms are Tangible
                                     3
                                                  Second, plaintiffs argue that defendants’ platforms are in fact tangible in the sense that
                                     4   they “have very tangible manifestations to their users.” (Pls’ Opp’n at 25:22–23.) They contend
                                         that defendants “design their apps to be visually stimulating, to make noises and vibrate, and to
                                     5
                                         prompt Plaintiffs and other users to pick up their devices to swipe, click, and flick the user
                                     6   interface . . . .” (Id. at 25:23–24.) Further, defendants “track their users’ physical interactions
                                         with the apps,” such as measuring “how long a child ‘hovers’ on an image before touching it.”
                                     7   (Id. at 26:4–5.)

                                     8           While creative, the Court disagrees. It is the phones that vibrate, make sounds, or
                                         otherwise manifest, physically, defendants’ design choices. Any connection between defendants
                                     9
                                         and such haptics is therefore too attenuated for the Court to find that defendants’ platforms are in
                                    10   fact tangible products. Doing so would erode any distinction between phone manufacturers (for
                                         example, when they calibrate how a phone vibrates in a user’s hands) and platform operators like
                                    11   defendants.
                                    12          Accordingly, the Court determines defendants’ platforms are not tangible. 38
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                                    13
                                                                         c.      Whether Defendants’ Platforms are Analogous to Tangible
                                    14                                           Personal Property

                                    15           Third, plaintiffs barely argue that defendants’ platforms are sufficiently analogous to
                                         tangible personal property to be products.39 See Third Restatement § 19(a) (defining products to
                                    16   encompass tangible things that are analogous to tangible personal property in “the context of their
                                    17   distribution and use”). The Court addresses each of their two arguments.

                                    18           One, plaintiffs contend that the “distribution” of defendants’ platforms is akin to platforms
                                         made by “product designers,” overseen by “product managers,” and then packaged and shipped to
                                    19   the public via stores. The Court has already addressed, and incorporates here, the flaws in relying
                                         solely on generic labels. In terms of the analogy that the platforms are, like tangible goods,
                                    20   similarly purchased in a store, i.e., an online app store, that specific analogy fails to persuade. The
                                    21   Court determines that this analogy is not sufficiently direct. For example, defendants’ platforms
                                         are not exclusively accessed by downloading an app from an online “store.” They can be accessed
                                    22   via their webpages and can even come pre-loaded on certain connected devices. (See, e.g., MAC
                                         ¶¶ 186–89 (implicitly acknowledging that Facebook was initially developed as a website but later
                                    23

                                    24          38
                                                   Because Ohio’s products liability framework limits the scope of “products” to tangible
                                    25   things, plaintiffs’ products liability claims are DISMISSED WITH PREJUDICE insofar as they are
                                         brought under Ohio law. Parties agreed as much at the hearing. See Ohio Rev. Code §
                                    26   2307.71(A)(12); see also Pls’ Opp’n at 93:13–15 (admitting that Ohio’s products liability
                                         framework is limited to “tangible” products).
                                    27
                                                39
                                                     Plaintiffs devote two paragraphs to the issue.
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                                         was configured into a mobile phone app); 578 (noting that TikTok can be accessed via web
                                     1   browser); 692 (explaining that YouTube “comes pre-installed on many Smart-TV’s.”)40
                                     2
                                                Two, plaintiffs submit, without analysis, as follows:
                                     3
                                                Consumers store Defendants’ apps on their personal electronic devices and use them for
                                     4          personal purposes. There is no functional difference between downloading an app from
                                                the App Store and using it on your phone, and buying a container from the Container Store
                                     5
                                                and using it on your countertop.
                                     6
                                         (Pls’ Opp’n at 25:11-14.) Treating as self-evident the similarities between defendants’ platforms
                                     7   and a physical container purchased from a storage solutions company fails. The Court cannot
                                         discern what plaintiffs seek to demonstrate through this analogy. A social media platform is not
                                     8   like a container. To that end, plaintiffs have not established as a global matter that defendants’
                                         platforms are akin to tangible personal property such that they are products.
                                     9

                                    10                                  d.      Whether Defendants’ Platforms are Akin to Ideas, Content,
                                                                                or Free Expression
                                    11
                                                 Fourth, the Court considers whether defendants’ platforms are akin to ideas, content, and
                                    12   free expression upon which products liability claims cannot be based. Defendants emphatically
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                                         argue that plaintiffs’ claims rise and fall with the content-based allegations made in the MAC.
                                    13
                                         Plaintiffs again emphasize that they do not challenge any content hosted on defendants’ platforms,
                                    14   but challenge defendants’ design choices in how to structure and operate their platforms, which
                                         subsequently caused them harm.
                                    15
                                                  In light of the above and for efficiency, the Court analyzes the parties’ key cases focusing on
                                    16   the distinction between design- and content-focused claims to determine whether resolution of the
                                    17   pending motions on their “all-or-nothing” arguments is possible. To this end, the Court begins with
                                         defendants’ cases. In addition to Winter and its progeny, such as James, defendants also rely on cases
                                    18   like Estate of B.H. v. Netflix, Inc., 2022 WL 551701, at *1 (N.D. Cal. Jan. 12, 2022), appeal docketed,
                                         No. 22-15260 (9th Cir. Feb. 23, 2022) and Rodgers v. Christie, 795 F. App’x 878 (3d Cir. 2020) to
                                    19   assert that products liability claims relating to content-delivery systems are not cognizable.
                                    20           In Netflix, decided by this Court in 2022, plaintiffs brought a range of claims, including for
                                    21   products liability, against Netflix in connection with Netflix’s production, dissemination, and
                                         recommendation of a television show involving suicide to a young girl who went on to herself
                                    22   commit suicide. Netflix, 2022 WL 551701, at *3; see also Am. Compl. ¶ 6, Netflix, No. 4:21-CV-
                                         06561-YGR (N.D. Cal. Sept. 22, 2021), ECF No. 22 (alleging Netflix “used its sophisticated,
                                    23   targeted recommendation systems to push the [at issue s]how” on children). This Court
                                         determined that plaintiffs failed to state a strict products liability claim and granted defendant
                                    24   Netflix’s motion to dismiss because plaintiffs “premised” the operative complaint “on the content
                                    25   and dissemination of the show.” Netflix, 2022 WL 551701, at *3. Relying on Winter, the Court
                                         likened plaintiffs’ claims to those against “books, moves, or other forms of media.” Id.
                                    26
                                    27          40
                                                    The fact that one might purchase a tangible item like a television, phone, or other device
                                         in order to then access defendants’ platforms is not relevant. The direct analogy being drawn is
                                    28
                                         between the tangible thing purchased from a store and defendants’ platform.
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                                                 This litigation is distinguishable from Netflix, however. There, plaintiffs’ injuries were
                                     1   inseparable from a specific show. The Court was therefore left with no option but to conclude
                                     2   that, “[w]ithout the content,” meaning the show in question, “there would be no claim.” Id. Not
                                         so here. As pled, plaintiffs allege harms stemming from the design of defendants’ platforms.
                                     3
                                                  Rodgers similarly does not persuade, but on different grounds. There, plaintiff brought
                                     4   suit against the entity responsible for designing “a multifactor risk estimation model” used by the
                                         New Jersey state court to make pretrial release determinations, and which played a role in the
                                     5
                                         decision to release a man who killed plaintiff’s son. Rodgers, 795 Fed. App’x at 878-79.41 The
                                     6   district court dismissed the complaint, finding that the model was not a product under New Jersey
                                         law, and the Third Circuit affirmed. Id. at 879. In doing so, the Third Circuit emphasized two
                                     7   things: (i) the model at issue was not distributed commercially; and (ii) the model was not
                                         “remotely analogous” to tangible personal property because “information, guidance, ideas, and
                                     8   recommendations are not products under the Third Restatement.” Id. at 879-80 (cleaned up).
                                         Rodgers is therefore distinguishable on two grounds. First, defendants’ platforms are
                                     9
                                         commercially available, unlike the model there at issue. Second, plaintiffs’ allegations regarding
                                    10   defendants’ recommendation algorithms are barred by Section 230 and no longer part of this case.

                                    11           Viewed in context, therefore, Netflix and Rodgers do not demonstrate why dismissal of all
                                         plaintiffs’ products liability claims is necessary. By contrast, Brookes, Lemmon, and Omegle are
                                    12   examples of cases in which courts took plaintiffs’ preferred approach of distinguishing between
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                                         products liability claims that are focused primarily on content (and thus, were not cognizable) and
                                    13
                                         those focused primarily on design (which are cognizable).42 The Court analyzes these cases next.
                                    14
                                                 The Court begins with Brookes as it is most analogous to this litigation. There, a Florida
                                    15   intermediate appellate court held, with the benefit of a full record and on summary judgment, that
                                         the ridesharing company Lyft’s mobile app was a product. Brookes v. Lyft, Inc., 2022 WL
                                    16   19799628, at *3 (Fla. Cir. Ct. Sept. 30, 2022). The court clarified, first, that Lyft’s app was not a
                                    17   service, writing that “Lyft’s connection to the application is not simply the use of it to provide a
                                         service.” Id. Instead, “Lyft [was] the designer and distributor of the application,” which was
                                    18   “defective because of the way it habituat[ed] and distract[ed] Lyft drivers to constantly monitor
                                         the application,” including while driving. Id. at *1, *3. The court concluded that the “design
                                    19   choices” gave rise to the harms alleged and Lyft could be held accountable under Florida’s
                                         products liability framework. Id. at *2. The logic of Brookes therefore follows plaintiffs’
                                    20   products liability theory in this MDL. Here, plaintiffs allege harm arising out of defendants’
                                    21   choices about how to design their platforms, including the at-issue defects.43

                                    22
                                                41
                                                  Further, the opinion in Rodgers “does not constitute binding precedent” as it was “not an
                                    23   opinion of the full Court.” Rodgers, 795 Fed. App’x at 878.
                                    24          42
                                                     Defendants’ arguments, based on Brookes, Lemmon, and Maynard, that products
                                    25   liability law does not apply “where the plaintiff alleges harm from provision of a service or from
                                         information, ideas, and content expressed through the service,” fail to persuade. MTD1 at 8:7–9
                                    26   (collecting additional cases in support). First, this argument simply repackages the framework
                                         already developed in this Order. Second, the Court determines defendants’ have not established
                                    27   that their platforms are consist solely of services as a matter of law.
                                    28          43
                                                     Defendants sought at the hearing to distinguish Brookes by emphasizing that, unlike
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                                                 Like Brookes, Lemmon also supports the use of products liability in this litigation. While
                                     1   that case is discussed in more detail later in this Order, it suffices at this point to note that the
                                     2   Ninth Circuit there assumed (perhaps because they found it obvious) that plaintiffs adequately
                                         alleged a product-based negligence claim against Snap. Lemmon, 995 F.2d at 1093. Plaintiffs
                                     3   there challenged Snap’s Speed Filter functionality, a tool that enabled users to overlay the speed
                                         they were traveling in real life onto digital content that could be shared through the app. Id. Thus,
                                     4   the claims at issue in that case are similar to plaintiffs’ allegations in the MAC, in that they
                                         focused on the design of Snapchat functionalities more than any content shared through the
                                     5
                                         platform or accessed there. See, e.g., id. (“This case presents a clear example of a claim that
                                     6   simply does not rest on third-party content . . . . [Plaintiffs’] negligent design claim faults Snap
                                         solely for Snapchat’s architecture, contending that the app’s Speed Filter and reward system
                                     7   worked together to encourage users to drive at dangerous speeds.”). To that end, Lemmon
                                         provides, at minimum, an example to validate plaintiffs’ theory of products liability claims being
                                     8   cognizable against social media platforms, including defendants.
                                     9
                                                  Finally, Omegle is also instructive and invokes Lemmon. That case involved products
                                    10   liability claims against Omegle.com, a chat platform that randomly connects users for video calls.
                                         The court found its design defective insofar as it randomly connected minor and adult users before
                                    11   any contact. Omegle, 614 F.Supp.3d at 817. Relying in part on Lemmon, the court determined
                                         that plaintiff adequately pled her products claims. See id. at 819 (noting that defendant Omegle
                                    12   “could have satisfied its alleged obligation to Plaintiff by designing its product differently—for
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                                         example, by designing a product so that it did not match minors and adults.”) In doing so, the
                                    13
                                         court rejected the notion that defendant would have “needed to review, edit, or withdraw any
                                    14   third-party content” in response to plaintiff’s claims. Id. at 820. The court reiterated that
                                         plaintiff’s “case [did] not rest on third party content” because she contended “that the product
                                    15   [was] designed [in] a way that connects individuals who should not be connected (minor children
                                         and adult men).” Id. at 820-21. Thus, Omegle, like Brookes, stands for the proposition that
                                    16   products claims focused on the design of digital platforms, as opposed to their content, may be
                                    17   cognizable.

                                    18          Accordingly, the Court determines defendants’ global arguments that plaintiffs’ allegations
                                         concern only third-party content and should be dismissed on that basis fails to persuade.
                                    19

                                    20   here, plaintiff in that case was harmed by a physical object, the car operated by a Lyft driver
                                    21   distracted by the mobile app. Brookes, 2022 WL 19799628, at *1. Although the car in question
                                         was part of the chain of causation in that case, the Court discerns no indication that the court relied
                                    22   on the fact that the injury was ultimately caused by a tangible object in determining whether the
                                         Lyft app was a product.
                                    23
                                                  Defendants similarly argued that unless the allegations assert the “software made the
                                    24
                                         operation of a vehicle more dangerous,” the action should be dismissed. Defs’ Reply at 7:16–19
                                    25   (citing Jane Doe No. 1 v. Uber Techs., Inc., 79 Cal.App.5th 410, 419 (2022)). This is misguided.
                                         First, Jane Doe did not conduct a product analysis. Second, the trial court below had found that
                                    26   the Uber ridesharing app was not a product in part because it was used to provide a service to the
                                         plaintiff (i.e., obtaining a ride). See Doe v. Uber Tech., Inc., 2020 WL 13801354, at *7 (Super. Ct.
                                    27   Cal. Nov. 30, 2020) (“By plaintiffs’ own allegations, the Uber App was used to gain a service: a
                                         ride.”) (citation omitted). No such services are implicated here.
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                                         However, as discussed, infra, this does not end the analysis. Instead, a more detailed and
                                     1   searching analysis of the specific defects alleged is required.
                                     2
                                                                            e.   Whether Defendants’ Platforms, as Software, are Products
                                     3
                                                 Fifth, the Court examines whether defendants’ platforms are akin to “software” and on that
                                     4   basis are products globally speaking. The Third Restatement anticipated that courts might, at
                                         some future date, be asked to determine whether software is a product.44 It did not express a view
                                     5
                                         on the matter and instead simply made two notes. First, academics have long urged such an
                                     6   extension of tort doctrine. Second, courts could turn to the Uniform Commercial Code (“UCC”)’s
                                         treatment of mass-marketed software45 as “goods” for persuasive authority. See generally Third
                                     7   Restatement § 19(a) & cmt. d.

                                     8          Relying on those notes, plaintiffs argue that, under the above-referenced framework,
                                         defendants’ platforms are “software” and should be treated as a product. They rely on three cases
                                     9
                                         to support this argument: Communications Groups, RRX Industries, and Neilson Business
                                    10   Equipment Center.46 These cases are not products liability cases, however; they are cases in
                                         which courts determined that contracts for software implicate “goods” and are therefore governed
                                    11   by the UCC (or its state analogs).
                                    12            Defendants submit that plaintiffs’ preferred approach would extend the limits of products
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                                         liability too far by finding, in effect, that any software can be a product, even software that
                                    13
                                         operates as a service or deals primarily with ideas, content, and free expression that cannot
                                    14   typically form the basis of a products liability claim. That said, neither plaintiffs nor defendants
                                         analyze in detail plaintiffs’ cases, nor do they apply the facts of such cases to this litigation. The
                                    15   Court nonetheless addresses each.
                                    16            To start, the Court determines at the outset that Communications Groups is irrelevant to
                                    17   this litigation because it deals with custom software, which is a service.47

                                    18
                                                44
                                                   The Ninth Circuit, in Winter, similarly anticipated this. It suggested, in dicta, that
                                    19   “computer software that fails to yield the result for which it was designed may [also] be [a
                                         product].” Winter, 938 F.2d at 1036.
                                    20
                                                45
                                    21           Bespoke software designed specifically for a customer is not considered a good,
                                         however. In that context, software is a service. Third Restatement § 19(a) & cmt. d.
                                    22
                                                 Commc’ns Grps., Inc. v. Warner Commc’ns, Inc., 527 N.Y.S.2d 341 (N.Y. Civ. Ct. 1988);
                                                46
                                    23   RRX Indus., Inc. v. Lab-Con, Inc., 772 F.2d 543 (9th Cir. 1985); Neilson Bus. Equip. Ctr., Inc. v.
                                         Monteleone, 524 A.2d 1172 (Del. 1987).
                                    24
                                                47
                                    25               See, supra, note 45.

                                    26           Communications Groups arose from a dispute over a contract for “the installation” of
                                         “specifically designed software equipment for defendant’s particular telephone and computer
                                    27   system, needs, and purposes.” Communications Groups, 138 Misc.2d at 83. The transaction at
                                         issue involved multiple pieces of “identifiable and movable equipment such as recording,
                                    28
                                         accounting and traffic analysis and optimizations, modules, buffer, directories, and an operational
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                                                  RRX Industries is similar to Communications Groups but does not appear to have involved
                                     1   bespoke software. Rather, it arose from a “computer software contract” dispute involving “a
                                     2   software system for use in [] medical laboratories.” RRX Industries, 772 F.2d at 545. The Ninth
                                         Circuit, in finding the software constituted a “good,” applied a California law defining as “goods”
                                     3   “all things . . . which are movable at the time of identification to the contract for sale . . . .” Id. at
                                         546 (quoting Cal. Comm. Code § 2105 (West 1964)) (emphasis supplied). Neilson Business
                                     4   Equipment Center is similar. That case also involved a contract for a software package consisting
                                         of “hardware, software and services,” which were collectively determined to be a good. Neilson
                                     5
                                         Business Equipment Center, 524 A.2d at 1174.
                                     6
                                                 The Court therefore finds plaintiffs’ analogy to the treatment of software under the UCC
                                     7   insufficiently developed to persuade. First, read together and viewed in context, RRX Industries
                                         and Neilson Business Equipment Center stand for a narrower proposition than plaintiffs admit: that
                                     8   certain software packages, typically including physical hardware and delivered to specific
                                         customers, can be “goods.” Plaintiffs do not explain how this litigation implicates this rule. This
                                     9
                                         is especially striking where, as here, defendants’ platforms are intangible and do not include
                                    10   hardware. Second, plaintiffs give this Court no recent cases to support their preferred approach.
                                         The cases upon which they rely were decided between 1985 and 1988. The “software” referenced
                                    11   therein was not as sophisticated as the technologies implicated by this litigation and created
                                         decades later. As plaintiffs cite no authority that interprets the UCC’s treatment of software in a
                                    12   modern context, and as they do not meaningfully explain how defendants’ platforms are similar to
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                                         the software discussed in their cases, the Court cannot adopt their logic. Said differently, there
                                    13
                                         may be a workable analogy here, but plaintiffs have not identified it.
                                    14
                                                Accordingly, the Court declines to treat the platforms as products by way of analogy to
                                    15   how the UCC treats some mass-marketed software.
                                    16                           ii.     The Court’s Defect-Specific Approach
                                    17
                                                 As repeatedly emphasized herein, the allegations in the MAC warrant a more fulsome
                                    18   analysis than the global approaches taken. Thus, the Court analyzes whether the various
                                         functionalities of defendants’ platforms challenged by plaintiffs are products.48 For each, the Court
                                    19   draws on the various considerations outlined above (i.e., whether the functionality is analogizable
                                         to tangible personal property or more akin to ideas, content, and free expression) to inform the
                                    20   analysis. Depending on the functionality at issue, the Court’s analysis may be limited to one
                                    21   consideration; for other defects, multiple considerations may determine the outcome.

                                    22           ///
                                                 ///
                                    23           ///
                                                 ///
                                    24

                                    25
                                         user guide and other items.” Id.
                                    26
                                                 48
                                                   To the extent parties diverge from their “all or nothing” approach, they do so by
                                    27   categorizing plaintiffs’ alleged defects into sweeping categories and analyzing them at an abstract
                                         level. See, e.g., MTD1 at 23:10–25:19; Reply at 10:3–11:25. As discussed, supra, this of
                                    28
                                         marginal value.
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                                                                        a. Defective Parental Controls and Age Verification (Defects i, ii,
                                     1                                     and iii)
                                     2
                                                 The first three design defects relate to defendants’ allegedly defective parental controls and
                                     3   age verification systems, namely: (i) a failure to implement robust age verification processes to
                                         determine users’ ages (MAC ¶ 845(a); see also, e.g., id. at ¶¶ 59, 134, 140, 327-35 (Meta), 461-62
                                     4   (Snap), 568-74 (TikTok)); (ii) a failure to implement effective parental controls (id. at ¶ 845(b);
                                         see also, e.g., id. at ¶¶ 134, 141, 262 & 346 (Meta), 566 & 579 (TikTok)); and (iii) a failure to
                                     5
                                         implement effective parental notifications (id. at ¶ 845(c)).
                                     6
                                                The Court begins by asking whether these alleged defects are analogous to tangible
                                     7   personal property in the context of their use and distribution. See Third Restatement § 19(a). The
                                         answer is yes. Myriad tangible products contain parental locks or controls to protect young
                                     8   children. Take, for instance, parental locks on bottles containing prescription medicines. Other
                                         examples include parental locks on televisions that enable adults to determine which channels or
                                     9
                                         shows young children should be permitted to watch while unsupervised.
                                    10
                                                The Court also considers whether these defects concern design elements of defendants’
                                    11   platforms and are content-agnostic, as plaintiffs argue, or are more akin to ideas, content, and free
                                         expression upon which products liability claims cannot be based. Again, these identified defects
                                    12   primarily relate to the manner in which young users are able to access defendants’ apps, including
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                                         whether their age is accurately assessed during the sign-up process and whether, subsequent to
                                    13
                                         signing up, their activity and settings can be accessed and controlled by their parents.
                                    14
                                                 These defects are therefore more akin to user interface/experience choices, such as those
                                    15   found to be products in Brookes, where a Florida intermediate appellate court determined the Lyft
                                         mobile app was a product. See generally Brookes, 2022 WL 19799628. As in Omegle, the
                                    16   defects alleged here also concern minors’ abilities to access online platforms. 614 F.Supp.3d at
                                    17   817, 821. Such claims are therefore content-agnostic.

                                    18           Defendants’ counterarguments do not persuade otherwise. They urge that these defects are
                                         not products because the alleged harm is derived from words, images, and content, relying
                                    19   primarily on James to do so.49 See, supra, Section VI.B.ii (discussing James). Defendants’
                                         repackaging of the MAC for their own purposes (such as by asserting these defects are inseparable
                                    20   from content parents may wish to block) does not control, however. The Court determines
                                    21   plaintiffs’ pleadings plausibly support their contentions, and therefore distinguish this litigation
                                         from James.
                                    22
                                                For these reasons, these three design defects are classified as products.50
                                    23

                                    24          49
                                                    Defendants also rely on Grossman v. Rockaway Twp., 2019 WL 2649153 (Super Ct. N.J.
                                    25   June 10, 2019), which implicated Snap’s age verification processes. The decision is not
                                         inapposite. While the court granted a motion to dismiss products liability claims against Snapchat,
                                    26   it did so on grounds that plaintiffs had not pled sufficient facts to enable it to analyze whether
                                         Snapchat was a product. See id. at 15. This is not the case here.
                                    27
                                                50
                                                   While not necessary for the finding, the Court notes here that the Third Restatement
                                    28
                                         suggests courts should also consider public policy factors in determining what constitutes a
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                                                                       b.      Failure to Assist Users in Limiting In-App Screen Time
                                     1                                         (Defects iv and v)
                                     2
                                                  The next two design defects pertain to app session duration: (i) a failure to implement opt-
                                     3   in restrictions to the length and frequency of use sessions (MAC ¶ 845(f); see also, e.g., ¶¶ 195 &
                                         263 (summarizing such allegations against Meta)); and (ii) a failure to implement default
                                     4   protective limits to the length and frequency of use sessions (id. ¶ 845(e); see also, e.g., ¶¶ 195 &
                                         263 (Meta)).
                                     5

                                     6           Again, the Court begins with an analogy to tangible personal property. The most obvious
                                         analog to these identified defects is physical timers and alarms, which have long been in use.
                                     7   Modern examples are also available. For instance, many of us carry in our pockets smart phones
                                         which are tangible products. These phones contain features that enable users to receive auto-
                                     8   notifications should they exceed pre-set “screen time” limits.51 These examples are sufficiently
                                         analogous to tangible personal property in terms of their use and distribution.52
                                     9

                                    10           Importantly, these alleged defects are also content-agnostic. Plaintiffs’ theory concerns the
                                         manner in which users access the apps (i.e., for uninterrupted, long periods of time), not the
                                    11   content they view there. For this reason, these alleged defects are not excluded on the grounds
                                         that they pertain to “ideas, thoughts, and expressive content” under Winter and its progeny. Cf.
                                    12   James, 300 F.3d at 701 (holding that such content cannot form the basis of a products liability
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                                         claim).
                                    13

                                    14         Accordingly, the Court finds the two above-referenced design defects are product
                                         components and therefore appropriately fall within a product liability claim.
                                    15

                                    16   “product” for the purposes of products liability claims. Third Restatement § 19, Reporter’s Note
                                    17   at cmt. a. The Reporters to the Third Restatement identify such factors as including “the public
                                         interest in life and health,” as well as, among others, “the justice of imposing the loss on the
                                    18   manufacturer who created the risk and reaped the profit.” These considerations also support the
                                         Court’s conclusion here. The alleged defects concern children’s well-being and safeguards to
                                    19   ensure adequate parental oversight of their online activities. As such, they advance the public’s
                                         interest in young people’s well-being. See, e.g., Wyke v. Polk Cty. Sch. Bd., 129 F.3d 560, 573
                                    20   (11th Cir. 1997) (“Society as a whole has a strong interest in ensuring the health and well-being of
                                    21   its children.”). Moreover, defendants are best positioned to impose such safeguards, especially
                                         where, as here, they are alleged to intentionally target younger users. See, e.g., MAC ¶ 54.
                                    22
                                                51
                                                   Where features are not dependent on phone connectivity or integrated into apps thereon,
                                    23   they have been considered part of the physical product. See Holbrook v. Prodomax Automation,
                                         Ltd., 2021 WL 4260622, at *1–*2 (W.D. Mich. Sept. 20, 2021) (finding that operating software
                                    24
                                         controlling an assembly line was, for all intents and purposes, part of that physical assembly line
                                    25   and a product).

                                    26          52
                                                   As noted, supra, plaintiffs’ arguments that defendants’ platforms are tangible failed to
                                         persuade because any physical manifestations of the platforms are facilitated by the phones (or
                                    27   other devices), over which defendants are not alleged to have any control. By contrast, the Court
                                         here focuses on an analogy to functionalities of the phones as tangible items.
                                    28
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                                                                        c.      Creating Barriers to Account Deactivation and/or Deletion
                                     1                                          (Defect vii)
                                     2
                                                Plaintiffs allege that each defendant’s account deactivation/deletion process is needlessly
                                     3   complicated and serves to disincentivize users from leaving their respective social media
                                         platforms. (MAC ¶ 845(m); see also, e.g., ¶¶ 358–59, 362 (Meta), 489 (Snap), 639, 645, 647
                                     4   (TikTok), 774 (YouTube).)
                                     5
                                                Here, defendants’ global arguments casting all of plaintiffs’ allegations as essentially
                                     6   content-related are particularly lacking. The manner in which an individual user is able to
                                         deactivate or delete an account does not pertain directly to ideas, content, or free expression and is
                                     7   content agnostic. Cf. Winter, 938 F.2d at 1034 (concluding, in relevant part, that “ideas and [the]
                                         expression thereof” are not products). Defendants’ suggestion otherwise strains credulity.53
                                     8
                                                 Further, the Court is not inclined to view this alleged defect as akin to a service. In some
                                     9
                                         senses, account deletion and deactivation may be analogized to interactions a consumer might
                                    10   have with a service provider (such as closing an account with a bank or credit card company, for
                                         instance). The distinction here, however, is that account deletion and deactivation, as pled, is a
                                    11   user-directed process. The MAC does not assert that employees of defendants must assist users in
                                         processing such requests. This distinguishes the alleged barriers to account deletion and
                                    12   deactivation here from account-related services provided in other contexts.54
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                                    13
                                                 Given the procedural posture of the action, the Court therefore finds a sufficient plausible
                                    14   basis to classify the defect as a product.

                                    15                                  d.      Failure to Label Edited Content (Defect vi)
                                    16           Next, plaintiffs allege defendants fail to label images and videos that have been edited through
                                    17   in-app “filters” as edited content. (MAC ¶ 845(k); see also, e.g., ¶ 318 (“Meta has intentionally

                                    18
                                                53
                                                    Defendants include a passing reference to “account deletion” in MTD1. There,
                                    19   defendants argue that this defect is part of an attempt by plaintiff to “use product liability law to
                                         restrict the ‘words and images’ that Defendants make available—content that Plaintiffs say
                                    20   Defendants should have prevented from reaching minors.’” MTD1 at 11:19–21 (citing James, 300
                                    21   F.3d at 697, 701) (additional citations omitted). The Court disagrees. It strains plaintiffs’ MAC to
                                         characterize their allegations as seeking to require defendants to enable smoother account deletion
                                    22   pathways in order to prevent minors from accessing content. As pled, plaintiffs seek the creation
                                         of such pathways in order to permit users to extricate themselves from defendants’ platforms for
                                    23   any reason, including that they no longer wish to view content available there. It is simply not
                                         true that the only reason a child may wish to deactivate a Facebook account, for instance, is the
                                    24
                                         content it publishes.
                                    25          54
                                                   The Court similarly determines that defendants’ account deletion and deactivation
                                    26   processes are distinct from product-related services, such as “installation or repair,” that courts
                                         typically view as services, not products. See Third Restatement § 19(a), Reporter’s Note at cmt. f.
                                    27   A better example of such services, which again are not products, would be a technician assisting a
                                         consumer with the installation of a new appliance and subsequently servicing that appliance.
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                                         designed its products to not alert adolescent users when images have been altered through filters or
                                     1   edited. Meta has therefore designed its product so that users, including plaintiffs, cannot know which
                                     2   images are real and which are fake, deepening negative appearance comparison.”)

                                     3           This alleged defect concerns the design of defendants’ social media platforms rather than
                                         the content made available through such platforms. See, e.g., Brookes, 2022 WL 19799628, at *3.
                                     4   That said, the Court recognizes that the labeling, or failing to label, content, in any way, is tied to
                                         the nature of the content itself. See, e.g., James v. Meow Media, Inc., 90 F.Supp.2d 798, 810–11
                                     5
                                         (W.D. Ky. 2000), aff’d 300 F.3d 683 (6th Cir. 2002) (“[I]ntangible thoughts, ideas, and expressive
                                     6   content are not products within the realm of the strict liability doctrine.”) (cleaned up). However,
                                         that connection relates to the output of the labeling, not the labeling tool itself.
                                     7
                                                 On balance, and given the posture of this litigation, the Court is required to accept
                                     8   plaintiffs’ allegations as true when testing the sufficiency of their claims. For this reason, the
                                         Court finds that this design defect may proceed as a product to the extent that plaintiffs’
                                     9
                                         allegations center on the design of the filter. For instance, labeling a photo as “edited” does not
                                    10   alter the underlying photo as much as it guides the user in better understanding how to interpret
                                         that photo. The Court finds this distinction meaningful. Accordingly, while a closer question,
                                    11   plaintiffs have plausibly stated the existence of a product relative to this defect.
                                    12                                  e.      Making Filters Available to Users to Manipulate Content
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                                                                                (Defect viii)
                                    13

                                    14           The next alleged defect concerns defendants’ filters, which enable users to manipulate
                                         content prior to posting it on defendants’ platforms or otherwise sharing it with others. (MAC
                                    15   ¶ 864(d); see also, e.g., ¶¶ 88 (all defendants), 131 & 649–53 (TikTok), 210 & 314–26
                                         (Instagram), 256 (Facebook), 513–19 (Snapchat).)
                                    16

                                    17           Plaintiffs challenge two main categories of filters. One, they target filters that permit users
                                         to “blur imperfections” and otherwise enhance their appearance in order to “create the perfect
                                    18   selfie.” (Id. at ¶ 514.) Plaintiffs assert the widespread use of such filters promotes unattainable
                                         beauty standards and facilitates social comparison, which combine to cause negative mental health
                                    19   outcomes for users, particularly young girls. Two, they target filters like Snapchat’s Speed Filter,
                                         which enable users to overlay content on top of existing content. Specifically, the Speed Filter is a
                                    20   functionality that enables users to overlay the speed they are traveling in real life onto a photo or
                                    21   video before sharing that content with others via the Snapchat app. (Id. at ¶¶ 132, 517–18
                                         (describing the Speed Filter).)
                                    22
                                                The Court examines these categories of filters separately.
                                    23
                                                 With respect to the filters that permit appearance alteration, the Court notes that
                                    24   defendants, admittedly in the First Amendment context, have referred to such filters as “tools that
                                    25   allow users to speak to one another,” such as by “creating or modifying their own expression
                                         (including with visual effects that change the look of images).” (MTD1 at 19:19–21 (emphasis
                                    26   supplied).) Defendants’ use of the word “tools” here is notable because defendants implicitly
                                         concede that a distinction exists between a “tool,” or functionality, that permit users to manipulate
                                    27

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                                         content and the content itself.55 Here, the concession inures to plaintiffs’ benefit as it bolsters their
                                     1   contention that this alleged defect is really about design, not content. Given the procedural
                                     2   posture, plaintiffs’ products liability claims may proceed with respect to defendants’ appearance-
                                         altering filters.
                                     3
                                                 With respect to Snapchat’s Speed Filter,56 the Court views the Ninth Circuit’s opinion in
                                     4   Lemmon as on point. See, supra, Section VI.C.i.d (discussing Lemmon). Like in Lemmon,
                                         plaintiffs here also challenge the design of Snapchat’s platform insofar as it provides users with
                                     5
                                         the Speed Filter as a tool for overlaying their speed onto photos and videos. As plaintiffs
                                     6   challenge essentially the same functionality as was at issue in that case and plead their allegations
                                         in similar ways, the Court determines Lemmon applies here. Thus, the Court finds that plaintiffs
                                     7   have adequately pled that the Speed Filter is a product or component thereof, and that plaintiffs’
                                         products liability claims may proceed as to that defect.57
                                     8
                                                  Accordingly, the Court determines plaintiffs have plausibly alleged that both categories of
                                     9
                                         filters are products and permits their claims to proceed on that basis.
                                    10

                                    11          55
                                                     Defendants’ articulation reoccurs in other filings. For instance, defendants argue that the
                                         “presence of photo or video ‘filters’ is determined by the user in deciding how to personalize their
                                    12   own content.” MTD1 at 23:16–18 (internal citations omitted). Defendants frame use of such
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                                    13   filters as pertaining to “how users can create or view messages, images, or other content generated
                                         by third parties online” and assert that they therefore cannot be products. Again, they focus on the
                                    14   output rather than the instrumentality itself.

                                    15          56
                                                     In their Reply, defendants assert Snapchat’s Speed Filter “has been defunct for years and
                                         is not at issue in this litigation.” Defs’ Reply at 5:16–17; see also Dkt. No. 324, Snap’s
                                    16   Supplemental Brief in Support of Defendants’ Reply in Support of MTD1 (hereinafter, “Snap’s
                                    17   Supplemental Reply Brief”) at 4:3 & n.5 (explaining that the filter is no longer in operation).
                                         However, the Speed Filter is referenced in the MAC, see, e.g., MAC ¶¶ 517–18, and so the Court
                                    18   analyzes it here. To the extent plaintiffs agree that the Speed Filter is no longer operational and
                                         was not operational during all relevant periods, then the Court would expect to receive
                                    19   clarification as to the scope of the filters defect as this litigation progresses.
                                    20          57
                                                   The Court disagrees, therefore, with defendants’ attempt to distinguish Lemmon on the
                                    21   grounds that the Ninth Circuit “did not address whether Snapchat . . . was ‘a product’ for purposes
                                         of California tort law.” MTD1 at 16 n.12 (citing Jacobs v. Meta Platforms, Inc., 2023 WL
                                    22   2655586, at *3 (Cal. Super. Ct. Mar. 10, 2023)).

                                    23            Maynard, the other Speed Filter case to which parties point, also supports this conclusion.
                                         There, plaintiffs brought a product-based negligent design claim against Snapchat arising out of
                                    24
                                         Snap’s design of the Snapchat Speed Filter functionality. Maynard v. Snapchat, Inc., 870 S.E.2d
                                    25   739, 743 (Ga. 2022). While the Georgia Supreme Court concentrated its analysis on the duty
                                         owed by Snap and proximate causation, it tacitly assumed that plaintiffs had adequately pled that
                                    26   the filter was a product in the first instance. Defendants urge this Court to disregard Maynard
                                         because the court there “did not analyze or decide whether” the filter was a product. MTD1 at 16
                                    27   n.12. This is true. However, this may have been because the Georgia Supreme Court viewed the
                                         filter’s status as a product as obvious.
                                    28
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                                                                       f.      Failure to Enable Processes to Report CSAM (Defect ix)
                                     1

                                     2          Finally, the Court analyses plaintiffs’ allegations that defendants failed to design their
                                         platforms to include “reporting protocols [that] allow users or visitors” “to report CSAM and adult
                                     3   predator accounts specifically without the need to create or log in to the products prior to
                                         reporting.” (MAC ¶ 845(p) (emphasis supplied).)
                                     4
                                                 The Court determines this allegation specifically concerns the design of defendants’
                                     5
                                         platforms. Plaintiffs seek to hold defendants’ accountable for requiring users to have logged into a
                                     6   registered account in order to report certain obscene content or profiles. This is quintessentially a
                                         matter of design, user interface, and system architecture rather than content. See generally
                                     7   Brookes, 2022 WL 19799628, at *3.

                                     8          Accordingly, the Court determines that plaintiffs have adequately alleged that the design of
                                         defendants’ CSAM and adult predator account reporting mechanisms are products.58
                                     9

                                    10                  D.      Conclusion

                                    11          For the foregoing reasons, the Court determines that plaintiffs adequately plead the
                                         existence of product components as to each alleged defect analyzed herein. 59 As such, the
                                    12   Court reaches the remaining elements of plaintiffs’ products liability claims: duty and
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                                         causation.60
                                    13

                                    14          VI.     DUTY

                                    15           The Court now addresses whether plaintiffs have adequately pled the duty element of their
                                         product-based negligence claims (Priority Claims 3–4). The Court analyzes two issues: One, have
                                    16   plaintiffs pled that defendants owe a duty to users of their social media platforms. Two, do
                                    17   defendants owe a duty to prevent third parties, such as adult predators, from using defendants’
                                         platforms to harm plaintiff users.
                                    18
                                    19          58
                                                   The Court notes, however, that additional fact development is likely to be helpful on this
                                         defect because, as set forth above, plaintiffs are barred from holding defendants’ liable for their
                                    20   content moderation activities. Their theory of harm relative to this defect must therefore not take
                                    21   issue with defendants’ choices as to what content to take down or censor.
                                                59
                                    22            Notably, the product defects here identified by the Court and in relation to which the
                                         Court permits plaintiffs’ products liability claims to proceed are not meaningfully challenged in
                                    23   Snap’s supplemental filings. See generally Snap’s Supplemental MTD Brief; Snap’s Supplemental
                                         Reply Brief.
                                    24

                                    25
                                                60
                                                   In general, defendants failed to brief specific grounds to dismiss plaintiffs’ failure to
                                         warn claims. Given that there are at least some bases on which plaintiffs’ failure to warn claims
                                    26   can proceed (i.e., insofar as such claims are based on the defects analyzed herein), the Court
                                         declines to do an unbriefed, complete analysis of all alleged defects on which their failure to warn
                                    27   claim could conceivably be based. Such an analysis would involve defects not barred by Section
                                         230 and the First Amendment as to plaintiffs’ failure to warn claims.
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                                                        A.      Duty to Users of Defendants’ Platforms
                                     1

                                     2          First, with respect to whether defendants owe a duty to plaintiff users of their social media
                                         platforms, the analysis is straightforward. It is well-established, including in this circuit, that
                                     3   manufacturers of products owe such duties to users. See Third Restatement § 1.61 The parties
                                         agree. (See Oct. 27, 2023 Hrg Tr. 131:15–25.)
                                     4
                                                 Here, in the preceding section of this Order, the Court determined that plaintiffs adequately
                                     5
                                         pled the existence of products in connection with the defects analyzed. Thus, defendants owe users the
                                     6   duty to design such products in a reasonably safe manner and to warn about risks they pose.62 This

                                     7
                                                61
                                                   Third Restatement § 1 (“One engaged in the business of selling or otherwise distributing
                                     8   products who sells or distributes a defective product is subject to liability for harm to persons or
                                         property caused by the defect.”); see also id. at cmt. a (“[This is] a general rule of tort liability
                                     9
                                         applicable to commercial sellers and other distributors of products generally.”); see also Lemmon,
                                    10   995 F.3d at 1092 (“Manufacturers have a specific duty to refrain from designing a product that
                                         poses an unreasonable risk of injury or harm to consumers.”) (citing Dan B. Dobbs, et al., Dobbs’
                                    11   Law of Torts § 478 (2d ed., June 2020 Update)).
                                    12           Similarly, plaintiffs’ preferred law, that of Georgia and New York, imposes duties on
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                                    13   product manufacturers. See, e.g., Micallef v. Miehle Co., Division of Miehle-Goss Dexter, Inc., 39
                                         N.Y.2d 376, 385 (Ct. App. 1976) (“[W]e hold that a manufacturer is obligated to exercise that
                                    14   degree of care in his plan or design so as to avoid any unreasonable risk of harm to anyone who is
                                         likely to be exposed to the danger when the product is used in the manner for which the product
                                    15   was intended as well as an unintended yet reasonably foreseeable use . . . .”) (citations omitted);
                                         Reece v. J.D. Posillico, Inc., 164 A.D.3d 1285, 1287–88 (N.Y. Supreme Ct., App. Div. 2018) (“A
                                    16   product may be defective when it contains a manufacturing flaw, is defectively designed, or is not
                                    17   accompanied by adequate warnings for the use of the product. A manufacturer has a duty to warn
                                         against latent dangers resulting from foreseeable sues of its product of which it knew or should
                                    18   have known.”) (citations omitted); Chrysler Corp. v. Batten, 264 Ga. 723, 724 (1994) (“[A]
                                         manufacturer has a duty to exercise reasonable care in manufacturing its products so as to make
                                    19   products that are reasonably safe for intended or foreseeable uses, the manufacturer of a product
                                         which, to its actual or constructive knowledge, involves danger to users, has a duty to give
                                    20   warning of such danger.”) (cleaned up).
                                    21
                                                 The Court recognizes that nuances exist, however. For example, under Oregon law, “there
                                    22   is typically no freestanding duty, only a fact question of foreseeability.” Pls’ Opp’n at 35 n.20
                                         (citing Towe v. Sacagawea, Inc., 347 P.3d 766, 774–75 (Or. 2015). That said, the Court declines
                                    23   to consider such granular distinctions at this early stage in the proceedings, especially given the
                                         posture and insufficient briefing.
                                    24
                                                62
                                    25              Having determined that plaintiffs have established the existence of a duty, the Court
                                         declines to consider parties’ arguments regarding whether defendants owe any other duties to
                                    26   plaintiff users of their social media platforms.

                                    27           The Court also notes here that plaintiffs raised a third issue, namely the impact of public
                                         policy in limiting or narrowing any duty recognized by the Court. Given the parties agree that
                                    28
                                         product makers owe a duty relative to introducing their products into the stream of commerce and
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                                         duty is informed by the context at issue, namely that plaintiffs are minor children. It is not, however,
                                     1   heightened on that basis.63
                                     2
                                                          B.      Duty to Prevent Third Party Harm
                                     3
                                                 Second, with respect to whether defendants’ duty extends to preventing third parties from
                                     4   harming plaintiff users by using the social media platforms, the parties disagree. Defendants argue
                                         that plaintiffs have not established the requisite misfeasance upon which such a duty could be
                                     5
                                         based. Plaintiffs assert that the factual allegations in the MAC are sufficient.
                                     6
                                                 As above, the Court begins with the Restatements. In general, entities do not owe a
                                     7   duty to prevent harm by third parties to their users, subject to two exceptions. Namely, duties
                                         may attach where (i) a “special relationship” exists between the entity and its users or between
                                     8   the entities and the third parties potentially causing the harm or (ii) the entity itself creates a
                                         risk of harm by third parties to its users. 64 Plaintiffs concede that no qualifying special
                                     9
                                         relationship exists here, 65 thus, the Court concentrates its analysis on the second exception.
                                    10

                                    11   the Court does not find a duty in the third party context, the Court declines to reach that issue or to
                                         opine on the relevance of such issues to topics that may be before the Court in future briefing.
                                    12
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                                                 63
                                    13              Throughout their briefing, plaintiffs make convoluted arguments about the impact of
                                         plaintiffs’ status as minors on the duty analysis. At times, they suggest that defendants owe a
                                    14   heightened duty to the MDL plaintiffs on account of their age. The Court here clarifies that
                                         neither the Second Restatement, nor any of the other authority upon which plaintiffs rely, stand for
                                    15   the proposition that defendants’ duty to plaintiffs is somehow elevated. At most, defendants are
                                         obligated to perform their duties to plaintiffs while bearing in mind that plaintiffs are children.
                                    16   They are not subject to a heighted or more exacting duty on this basis. See Second Restatement §
                                    17   290, cmt. k (“The actor as a reasonable [person] should also know the peculiar habits, traits, and
                                         tendencies which are known to be characteristic of certain well defined classes of human beings.
                                    18   [They] should realize,” for instance, “that the inexperience and immaturity of young children may
                                         lead them to act innocently in a way which an adult would recognize as culpably careless . . . .”);
                                    19   see also Swix v. Daisy Mfg. Co., 373 F.3d 678, 686–88 (6th Cir. 2004) (determining that the duty
                                         owed should be construed relative to the typical user of the product); In re JUUL Labs, Inc.
                                    20   Marketing, Sales Practices, and Prods. Liab. Litig., 497 F.Supp.3d 552, 656 (N.D. Cal. 2020)
                                    21   (opining as to the public “policy in favor of preventing future harm” to children and recognizing a
                                         duty of care (not a heightened duty) in part on that basis); Sims v. United States, 2020 WL
                                    22   3273040, at *3 (W.D. Mo. June 17, 2020) (finding that dependent owed “a duty to supervise and
                                         protect” the minor plaintiffs but without commenting on whether that duty was heightened).
                                    23
                                                 64
                                                    See Second Restatement § 315 (“There is no duty so to control the conduct of a third
                                    24
                                         person as to prevent him from causing physical harm to another unless [a cognizable special
                                    25   relationship exists].”); Third Restatement: Physical & Emotional Harm § 37 (“An actor whose
                                         conduct has not created a risk of physical or emotional harm to another has no duty of care to the
                                    26   other unless a court determines that one of the affirmative duties provided [herein] is
                                         applicable[,]” such as the existence of a special relationship between the actor and the third party
                                    27   or the affected person) (emphasis supplied).
                                    28           65
                                                      Oct. 27, 2023 Hrg Tr. 132:9–11.
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                                                 In terms of whether an entity is creating a risk of harm itself, common law principles draw a
                                     1   “distinction between misfeasance and nonfeasance.” See Dyroff, 2017 WL 5665670, at *12 (citation
                                     2   omitted). Duty is typically not imposed for nonfeasance, which is defined as “a failure to act.” Id.
                                         (citations omitted). By contrast, misfeasance can create a duty when the defendants are “responsible
                                     3   for making the plaintiff’s position worse, i.e., defendant has created a risk.” Id. (citations omitted);
                                         see also Ziencik v. Snap, Inc., 2023 WL 2638314, *5 (C.D. Cal. Feb. 3, 2023) (acknowledging that,
                                     4   while defendants “generally owe[] no duty to protect another from the conduct of third parties,”
                                         “such a duty may arise when a defendant engages in risk-causing conduct.”); Weirum v. RKO Gen.,
                                     5
                                         Inc., 15 Cal.3d 40, 49 (1975) (recognizing a duty to protect where “the defendant is responsible for
                                     6   making the plaintiff’s position worse, i.e., defendant has created a risk”).66 Thus, cases embrace a
                                         general proposition that a duty to protect users from third party harm is recognized where the actor
                                     7   has created a risk of harm to another or permitted the risk of such harm to increase.67 See
                                         Restatement (Third) of Torts: Liability for Physical and Emotional Harm (“Third Restatement:
                                     8   Physical and Emotional Harm”) § 37 (AM. LAW. INST. 2010).
                                     9

                                    10
                                                66
                                                   This basic framework is articulated slightly differently in Vesley v. Armslist LLC, 762
                                    11   F.3d 661 (7th Cir. 2014), a case applying Illinois law. There, the Seventh Circuit explained that a
                                         duty to protect can arise from the creation of “a risk of harm to others,” which “implicates in-
                                    12   concert liability.” Id. at 666. The court then suggested that creating a risk of harm to others is
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                                    13   comparable to “assist[ing] the third party” alleged to have committed the harm and to “giving
                                         substantial assistance or encouragement” to such third party. Id. (citations omitted). Applying
                                    14   this framework to the facts there at issue, the Seventh Circuit explained that “simply enabling
                                         consumers to use a legal service,” such as a web-based platform, “is far removed from
                                    15   encouraging them to commit an illegal act” and therefore not misfeasance from which a duty to
                                         protect would arise. Id. (alteration in original).
                                    16

                                    17            Defendants read Vesley to require that a defendant “actively encourage a third party to
                                         commit the unlawful act” in order for a duty to attach. See MTD1 at 37:3–4 (citing Vesley, 762
                                    18   F.3d at 666 (additional citations omitted)); see also Defs’ Reply at 20:3–6 (citing Vesley for the
                                         proposition that active assistance to a criminal third party is sufficient to trigger the existence of a
                                    19   duty). However, the Court declines to adopt such a high bar for finding misfeasance. This is for
                                         three reasons. First, the bulk of the authority cited by the parties and which the Court has
                                    20   reviewed stops short of requiring active encouragement of criminality. Second, the recognition of
                                    21   such a rule would further restrict the scope of the liability recognized by the Third Restatement in
                                         ways this Court does not believe were intended. Third, the Court in Vesley applied the law of
                                    22   Illinois, which is not the state selected by plaintiffs as their preferred law. That said, it is the
                                         controlling law for Illinois claims.
                                    23
                                                67
                                                     Notably, these principles align with defendants’ own articulation of the standard:
                                    24

                                    25          [The] standard requires affirmative wrongdoing on the part of the defendant—generally in
                                                the form of directing or encouraging a third party to commit an unlawful act, acting in
                                    26          concert with another tortfeasor, or giving substantial assistance to another’s tortious
                                                conduct—to subject that defendant to a duty of care.
                                    27
                                         MTD1 at 36 n.17 (emphasis in original) (citations omitted).
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                                                 Having articulated a general standard, the next question is whether that MAC sufficiently
                                     1   alleges facts to support misfeasance. Again, the parties disagree as to the specificity required.
                                     2
                                                 Defendants rely heavily on Jackson v. Airbnb, Inc. There, the court declined to impose a
                                     3   duty on the web-based, short-term rental service to safeguard renters from criminal acts by third
                                         parties on the grounds that plaintiffs’ claims relative to the platform were conclusory. 639
                                     4   F.Supp.3d at 1009.68 Defendants further emphasize that courts have required affirmative, concerted
                                         conduct that increases the risk of harm in order to find misfeasance. See, e.g., Bucher v. State ex rel.
                                     5
                                         Or. Corr. Div., 853 P.2d 798, 805 (D. Or. 1993) (en banc) (“[M]ere ‘facilitation’ of an unintended
                                     6   adverse result, where intervening intentional criminality of another person is the harm-producing
                                         force, does not cause the harm so as to support liability for it.”) (citation omitted).69
                                     7
                                                 By contrast, plaintiffs focus on Ileto and Hacala. Those cases found a duty. Defendants
                                     8   distinguish the cases on myriad grounds, including that the products at issue were physical. The
                                         Court addresses each.70
                                     9

                                    10           First, in Ileto, the Ninth Circuit found that plaintiffs’ allegations that defendant gun
                                         manufacturers intentionally overproduced weapons, thereby creating “an illegal secondary
                                    11   firearms market” was “more than sufficient to raise a factual question as to whether the
                                         Defendants owed the plaintiff a duty of care.” Ileto v. Glock, 349 F.3d 1191, 1204 (9th Cir. 2003).
                                    12   The Ninth Circuit emphasized that defendants themselves had “created an illegal secondary
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                                         market targeting prohibited purchasers” and it was those actions that had “placed plaintiffs in a
                                    13
                                         situation in which they were exposed to an unreasonable risk of harm through the foreseeable
                                    14   conduct of a prohibited purchaser,” such as the assailant who committed the mass shooting there
                                         at issue. Id. Thus, plaintiffs adequately pled that Glock, Inc.’s duty stemmed from placing its
                                    15   products, i.e., guns, essentially into the black market and by extension into criminals’ hands. See
                                         generally id. at 1024–05.
                                    16

                                    17           Plaintiffs suggest that Ileto supports the proposition that where a company has a business
                                         plan that leads to foreseeable third party risk, a duty should be extended to third parties.
                                    18
                                    19          68
                                                   Because Court determines defendants’ platforms are not only services, it declines to
                                         consider defendants’ arguments that no duty should be imposed on them as interactive
                                    20   communications services providers. See, e.g., MTD1 at 35:26–36:4.
                                    21          69
                                                    Defendants also rely on Taamneh. That case is distinguishable for two reasons. First,
                                    22   the Supreme Court there construed the text of the Antiterrorism Act (“ATA”) and considered
                                         whether Facebook, Twitter, and Google should be liable for aiding and abetting a terrorist
                                    23   organization by permitting that organization to use their platforms. See generally Twitter, Inc. v.
                                         Taamneh, 598 U.S. 471 (2023). The ATA is not implicated by the instant proceedings. Second,
                                    24
                                         the Supreme Court’s tort law analysis is not on point for this litigation. Defendants are correct
                                    25   that, in the context of assessing liability under the ATA, the Supreme Court considered “the
                                         typical limits on tort liability.” Id. at 503. However, the Supreme Court’s analysis did not
                                    26   consider the scope of tort liability in the products context here at issue.

                                    27          70
                                                   Plaintiffs offer minimal citation to or discussion of other authority supporting their theory
                                         of the scope of misfeasance, as opposed to simply distinguishing defendants’ cases. See generally
                                    28
                                         Pls’ Opp’n at 47–48.
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                                         Defendants distinguish on three grounds: “(1) firearms are tangible products; (2) they were the
                                     1   sole cause of the direct and immediate physical harms at issue (injury and death of multiple
                                     2   individuals); and (3) the plaintiff alleged that the defendant took “affirmative action” to “creat[e]
                                         an illegal secondary market for guns that targets illegal purchasers,’ none of which apply here.”
                                     3   Defs’ Reply at 21:6–9.

                                     4           The Court agrees with defendants’ third argument. In short, the allegations in Ileto
                                         explicitly connected the defendant manufacturers’ and distributors’ actions and knowledge with
                                     5
                                         “criminals and underage end users.” Id. at 1197. Plaintiffs further alleged that the Bureau of
                                     6   Alcohol, Tobacco, and Firearms contacted them regarding defendants’ illegal gun distribution and
                                         yet defendants failed to implement even basic safeguards, such as contractual provisions in their
                                     7   distributor contracts “to address the risks associated with prohibited purchasers.” Id. at 1198.

                                     8            Here, plaintiffs allege that defendants designed their platforms to push children to use their
                                         platforms as much as possible. In that context, defendants enabled features that encourage
                                     9
                                         children to connect with other users, such as adults. (See, e.g., MAC ¶ 530 (Snapchat “allows
                                    10   users to voice or video call one another in the app” which, “when paired with the many others that
                                         permit easy access to minors by predators, such as Quick Add and Snap Map,” can facilitate
                                    11   contact between adult predators and minors).) Plaintiffs urge that a duty should be imposed where
                                         defendants “knew or should have known that the design of [their] products attracts, enables, and
                                    12   facilitates child predators, and that such predators use [their] apps to recruit and sexually exploit
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                                         children for the production of CSAM and its distribution on [their platforms].” (Id. at ¶ 164; see
                                    13
                                         also id. at ¶ 144.) Ultimately, however, plaintiffs only allege that defendants sought to increase
                                    14   minors’ use of their platforms while “knowing or having reason to know” that adult predators also
                                         used the sites and therefore increased the risk to the minors.
                                    15
                                                  This generality of the allegations is insufficient to show misfeasance.71 See e.g., Ziencik,
                                    16   2023 WL 2638314, at *5, and Dyroff, 2017 WL 5665670, at *15 (collectively, holding that merely
                                    17   operating a website or web-based platform used by malicious third parties is insufficient to
                                         constitute misfeasance). Moreover, at least with respect to defendant TikTok, plaintiffs would
                                    18   appear to acknowledge that defendants have taken more precautionary steps than defendants in
                                         Ileto.72
                                    19

                                    20          71
                                                   The Court agrees with plaintiffs that, under Ileto and the framework articulated,
                                    21   supra, defendants’ conduct need not “rise to the level of involvement described in Gersh v.
                                         Anglin” to constitute misfeasance. Id. at 48:6–7. The Court declines to consider Gersh as the
                                    22   facts are far different from those at issue here. There, plaintiffs sought to hold the publisher of
                                         a far right website accountable for “publishing personal and professional contact information
                                    23   for [her] family, and offering samples of the types of anti-Semitic and misogynistic messages
                                         his readers should leave” for them. Gersh v. Anglin, 353 F.Supp.3d 958, 969 (D. Mont. 2018).
                                    24
                                         Plaintiffs do not allege defendants here incited analogous action by wrongdoers.
                                    25          72
                                                    Defendants note that their Terms of Service prohibit criminal activity and therefore
                                    26   their platforms cannot be said to encourage such activity such as by third parties who caused
                                         harm to plaintiffs here. See MTD1 at 37–38 n.18 (referring to various defendants’ online
                                    27   terms of service or similar policies, user contracts, or disclosures). The Court notes that
                                         plaintiffs’ MAC cites to and thereby incorporates by reference defendant TikTok’s Terms of
                                    28
                                         Service which do prohibit criminal activity, including with respect to minors. See MAC ¶ 644.
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                                                  Plaintiffs’ reliance on Hacala does not compel a different result. There, a California
                                     1   intermediate appellate court imposed a duty on the scooter ride-sharing company based on the
                                     2   foreseeable “risk that third parties would negligently leave Bird scooters in hazardous locations” since
                                         the scooters, as deployed on public streets, were “dock-less.” 90 Cal.App.4th 292, 317 (Cal. Ct. App.
                                     3   2023). Thus, the court extended the duty to a plaintiff who tripped on an errant scooter and sustained
                                         injuries. Id. at 319. Said differently, the company’s affirmative decision to deploy dock-less scooters
                                     4   on city streets and their failure to educate app users about how and where to safely leave scooters after
                                         their rides, “contributed to the risk of harm that resulted in plaintiffs’ injuries.” Id. at 311, 313.
                                     5

                                     6           Hacala is distinguishable for three reasons. First, the decision related to a California
                                         statutory duty. See id. at 310 (“[E]veryone is responsible . . . for an injury occasioned to another
                                     7   by his or her want of ordinary care or skill in the management of his or her property or person.”)
                                         (citation omitted). Second, the court’s decision was not based on a misfeasance analysis,73 but
                                     8   rather Bird’s own responsibilities with respect to the deployment of scooters. Third and relatedly,
                                         the court’s decision was informed by Bird’s own agreement “to take measures to prevent” injuries
                                     9
                                         by pedestrians, such as tripping over haphazardly abandoned scooters, “when it obtained [its]
                                    10   permit from the City [of Los Angeles]” to operate. Id. at 301. Given these distinctions, the
                                         ultimate decision has less persuasive value.
                                    11
                                                 Accordingly, the MAC does not sufficiently allege misfeasance such that a duty should
                                    12   attach for third party conduct. However, it may be possible for plaintiffs, especially with the
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                                         benefit of discovery, to amend their pleadings to more explicitly and specifically explain the basis
                                    13
                                         for the misfeasance by defendants that they claim.74 The Court therefore DISMISSES WITH LEAVE
                                    14   TO AMEND plaintiffs’ product-based negligence claims to the extent such claims are premised on
                                         the existence of a duty to protect users from third party actors using their platforms.
                                    15
                                                                                     *       *       *
                                    16

                                    17           For the foregoing reasons, the Court determines defendants owe plaintiff users of their social
                                         media platforms duties owing to their status as product makers, which are limited in scope to the
                                    18   defects previously determined by this Court to be product components.75 Defendants do not, however,

                                    19
                                         This further distinguishes this litigation from Ileto.
                                    20
                                                 73
                                    21            This is not to say that the court in Hacala did not consider misfeasance. See Hacala, 90
                                         Cal.App.5th at 316–18. However, such discussion came after the court had already concluded that
                                    22   the above-referenced statutory general duty applied and was therefore tangential to the analysis.

                                    23            Plaintiffs cite to paragraphs 129–32 (encouraging social media “challenges”), 137–39
                                                 74

                                         (making minors’ profiles public by default), 142, 145, and 147–55 (discussing existing approaches
                                    24
                                         to CSAM and related adult sexual abuse) of the MAC to support their argument that their
                                    25   pleadings are “replete with examples of Defendants’ conduct creating a risk of harm.” Pls’ Opp’n
                                         at 48:20–22 (citing the MAC). The Court reviewed these paragraphs and views the allegations
                                    26   contained therein as insufficient to establish misfeasance, as addressed above.

                                    27            Parties devote scant time in their briefs to examining the scope of defendants’ duty to
                                                 75

                                         warn product users of defects in those products. Given the insufficient briefing, the Court declines
                                    28
                                         to conduct its own inquiry into the matter and is instead satisfied, based on the analysis set forth,
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                                         owe plaintiffs a duty to protect them from harm from third party users of defendants’ platforms. As set
                                     1   forth herein, plaintiffs’ product-based negligence claims may proceed to the extent they are (i) based
                                     2   on the product defects identified in the preceding section of this Order; and (ii) arise out of defendants’
                                         duty to design reasonably safe products and to warn users of known defects. Plaintiffs’ product-based
                                     3   negligence claims arising out of duties allegedly owed by defendants to plaintiffs regarding third party
                                         conduct on the at-issue platforms may not proceed at this time.
                                     4
                                                 VII.    CAUSATION
                                     5

                                     6           Defendants move to dismiss on the issue of causation. Here, they focus on the inadequacy
                                         of the short-form complaints. With respect to the issue of general causation, the parties brief
                                     7   Ninth Circuit and California law. The Court need not separately determine the law of New York,
                                         Georgia, or other jurisdictions as they are sufficiently consistent for pleading purposes, and no
                                     8   party has suggested otherwise.76 In summary, plaintiffs have generally, and adequately, alleged
                                         causation for purposes of their strict products liability and product-based negligence claims. 77
                                     9
                                         Issues regarding short form complaints are more appropriately addressed in a parallel track of
                                    10   revised disclosures and, perhaps, additional motion practice.

                                    11                   A.      Allegations of General Causation
                                    12                           i.      Master Amended Complaint
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                                    13
                                                 The MAC includes two main categories of allegations on the causation element. Those
                                    14   specific to how particular design features caused plaintiffs’ harms and those asserting that research
                                         studies have tied use of defendants’ platforms to harms similar to those alleged.
                                    15
                                                  As to the first category, plaintiffs contend that the “defective features” of defendants’
                                    16   platforms have caused and contributed to a range of negative physical, mental, and emotional
                                    17   health outcomes, including anxiety, depression, and self-harm. (MAC ¶ 90.) Plaintiffs support
                                         these allegations by describing, in great detail, how defendants’ social media offerings work (See,
                                    18   e.g., id. at ¶¶ 181-437 (Meta); 438-553 (Snap); 554-689 (ByteDance); 690-819 (Google).) Then,
                                         they tie the mechanics of the platforms to plaintiffs by asserting that they are designed to induce
                                    19   compulsive use by minors, such as MDL plaintiffs. Defendants are alleged to do this through
                                         efforts to, among others, “addict users” to their platforms, id. at ¶ 247 (Facebook); “exploit[] and
                                    20

                                    21
                                         supra, that such a duty exists under plaintiffs’ preferred laws. Because plaintiffs’ claims may
                                    22   proceed at least under the law of their preferred states, the Court determines their failure to warn
                                         claims survive dismissal.
                                    23
                                                 76
                                                   State-specific variations may exist but are beyond the scope of this Order to address.
                                    24
                                         For instance, the applicability of the substantial factor test. See, e.g., State Dept. of State Hospitals
                                    25   v. Super. Ct., 61 Cal.4th 339, 352 n.12 (2015) (explaining that, in California, where injuries
                                         involve “concurrent independent causes,” courts “apply the ‘substantial factor test’ of the [Second
                                    26   Restatement], which subsumes traditional ‘but for’ causation.”)

                                    27           77
                                                   To that end, the Court does not address the sufficiency of plaintiffs’ allegations of
                                         causation relative to harms purportedly caused by third parties using defendants’ platforms.
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                                         monetize[] social comparison,” id. at ¶ 312 (Instagram); “promote compulsive and excessive use,”
                                     1   id. at ¶¶ 491-97 (Snap); “inundate users with features” that “maximize the time users (including
                                     2   children) spend using” the platforms, id. at ¶¶ 727–29 (YouTube); and avoid controlling the
                                         spread of child sexual abuse material, id. ¶¶ 654–74 (TikTok).)
                                     3
                                                 As to the second category, plaintiffs argue that myriad studies tie defendants’ design and
                                     4   operation of their platforms to the types of injuries alleged by plaintiffs. (See id. at ¶ 101; see also id.
                                         at ¶¶ 96–124 (compiling studies over many years).)
                                     5

                                     6                            ii.     Analysis

                                     7            As stated above, the Court determines the law of state jurisdictions is sufficiently consistent to
                                         permit a general analysis of whether plaintiffs’ MAC adequately alleges causation.78 The Third
                                     8   Restatement’s approach is generally representative. Where, as here, but-for causation is not at issue, the
                                         focus is on “proximate cause.” See Third Restatement: Physical and Emotional Harm § 29.79 Under the
                                     9
                                         Restatement, whether proximate cause exists hinges on whether the harm alleged is a foreseeable result
                                    10   of the at-issue conduct. Id. at § 19 (“The conduct of a defendant can lack reasonable care insofar as it
                                         foreseeably combines with or permits the improper conduct of the plaintiff or a third party.”).
                                    11
                                                 As outlined above, plaintiffs allege defendants made design choices with respect to their
                                    12   platforms which caused plaintiffs’ injuries, including adolescent addiction, and negative physical,
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                                         mental, and emotional health outcomes. The allegations are rooted in academic studies
                                    13
                                         empirically demonstrating causal connections. Thus, given the procedural posture and Rule 8
                                    14   standards,80 plaintiffs’ allegations are sufficient.81 Defendants’ assertion that more is required at
                                         this preliminary stage lacks merit.82
                                    15

                                    16           78
                                                   For instance, the Restatement approach summarized herein accords with the frameworks
                                    17   employed by the Ninth Circuit when assessing federal law causes of action and by the California
                                         Supreme Court. See State Dept. of State Hospitals v. Super. Ct., 61 Cal.4th 339, 352-53 n.11
                                    18   (2015) (“Proximate cause is also a necessary element” of a negligence claim in California and
                                         implicates both but-for causation and limitations on liability based on public policy grounds);
                                    19   Pacific Shores Properties, LLC v. City of Newport Beach, 730 F.3d 1142, 1168 (9th Cir. 2013)
                                         (observing, as a matter of federal common law, that “[t]he doctrine of proximate cause serves
                                    20   merely to protect defendants from unforeseeable results of their negligence . . . .”).
                                    21           79
                                                   The Court refers to the Third Restatement: Physical and Emotional Harm as a guide when
                                    22   analyzing parties’ causation arguments because the Third Restatement: Products Liability permits it
                                         to do so. See Third Restatement § 15 (“Whether a product defect caused harm to persons or property
                                    23   is determined by the prevailing rules and principles governing causation in tort.”).
                                    24
                                                  Rule 8’s requirement that plaintiffs provide a “short and plain statement of the claim
                                                 80

                                    25   showing that [they are] entitled to relief” applies here. Fed. R. Civ. P. 8(a)(2).

                                    26            The Court need not consider the impact of defendants’ obvious possession of better
                                                 81

                                         information as plaintiffs have proffered a sufficient basis for a plausibility finding. See Pls’ Opp’n
                                    27   at 50.
                                    28           82
                                                      The Court also here notes that Snap’s supplemental filings fail to distinguish Snapchat
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                                                         B.      Specific Causation
                                     1

                                     2           With respect to the adequacy of the plaintiffs’ short-form complaints, defendants’
                                         objections were made previously and addressed.83 The Court sees no reason to depart from its
                                     3   prior position. MDLs are designed to allow for an efficient progression of litigation and the
                                         approach here is consistent with other, similar cases, such as In re Allergan Biocell Textured
                                     4   Breast Implant Products Liability Litigation.84 There, as here, an analysis of the “common facts”
                                     5

                                     6   from the other challenged platforms in terms of the causation element of plaintiffs’ products
                                         liability claims. The Court addresses two relevant arguments.
                                     7
                                                 First, Snap repeatedly argued, both in their supplemental filings and at the hearing, that
                                     8   plaintiffs have not pled adequately severe (and therefore cognizable) harms arising from the
                                         design of Snapchat. This is not accurate. The MAC contains sufficiently detailed allegations as to
                                     9
                                         the harms caused by the design of Snapchat to satisfy Rule 8 and sufficiently plead general
                                    10   causation. See MAC ¶ 440 (“Snapchat’s design features cause its young users to suffer increased
                                         anxiety, depression, disordered eating, sleep deprivation, suicide, and other severe mental and
                                    11   physical injuries); see also id. (linking such allegations to specific functionalities of the platform).
                                         Snap’s attempt to explain away these allegations fails to persuade. Snap’s Supplemental Brief in
                                    12   Support of Defendants’ Reply in Support of MTD1 at 3 n.3.
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                                    13
                                                 Second, Snap appears to suggest that a recent district court case in California is relevant to
                                    14   the causation analysis conducted above, writing that the court there “rejected the argument that
                                         alleged Snapchat ‘design defects’ . . . were the source of harm suffered by Plaintiffs who
                                    15   experienced sexual exploitation by bad actors who abused the platform.” See Snap’s
                                         Supplemental Reply Brief at 1:16–19. However, that argument relies on L.W., a case decided on
                                    16   Section 230 grounds and discussed by this Order in that context. See, supra, note 20 &
                                    17   accompanying text. L.W. provides no grounds for holding, as a matter of causation, that claims
                                         against Snap should be dismissed.
                                    18
                                                For the reasons addressed here as well as those detailed, supra, at notes 3, 10, and 58, the
                                    19   Court DENIES Snap’s request for dismissal of plaintiffs’ claims relative to the Snapchat platform.
                                    20           83
                                                   See Dkt. No. 153-4, Notice of Submissions Concerning Short-Form Complaints,
                                    21   Defendants’ Letter Brief and Exhibit at 2 (expressing defendants’ view that “each plaintiff must
                                         specify the app features and experiences that allegedly caused their injuries.”) (cleaned up). See
                                    22   also Dkt. No. 164, Case Management Order No. 5 at 3:16–17 (“[P]laintiffs are put on notice that
                                         they will be required to provide the type of information the defendants are requesting if the case
                                    23   proceeds past dispositive motions”) (citation omitted).
                                    24           84
                                                    There, the court analyzed, on a motion to dismiss, the master and short-form complaints
                                    25   relative to products liability claims brought by plaintiffs implanted with allegedly defective medical
                                         devices. See generally In re Allergan Biocell Textured Breast Implant Prods. Liability Litig., 537
                                    26   F.Supp.3d 679 (D.N.J. 2021). The court reviewed, “with substantial leniency, the facts that may be
                                         specific to each individual [p]laintiff or largely within the control of [the defendants].” Id. at 721. The
                                    27   court found that, “the lack of potentially individualized factual allegations of [p]laintiffs, such as
                                         causation of individual [p]laintiffs’ injuries, [would] not be a ground for dismissal.” Id. By contrast,
                                    28
                                         such leniency was not afforded to the “common facts” alleged in the master complaint. Id.
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                                         alleged in plaintiffs’ MAC is sufficient for plaintiffs to plausibly allege, at this preliminary stage,
                                     1   that defendants’ actions proximately caused plaintiffs’ injuries.
                                     2
                                                 Defendants’ reliance on Adams v. BRG Sports, Inc. does not compel a different result.85
                                     3   There, the court dismissed on the grounds that the complaint was insufficiently particularized and
                                         had “obfuscate[d] whether each and every plaintiff [alleged] that his injury [was] caused by the
                                     4   defendants’ negligence, defective design, and/or inadequate warnings.” Id. at *3. There is no
                                         such confusion here. The MDL plaintiffs allege harm stemming from defendants’ platforms, as
                                     5
                                         set forth in the MAC and their individual short-form complaints.
                                     6
                                                Accordingly, the Court DENIES defendants’ motion to dismiss for failure to adequately
                                     7   plead causation.

                                     8          VIII. CONCLUSION
                                     9
                                                 For the foregoing reasons, the Court GRANTS IN PART and DENIES IN PART the pending
                                    10   motions to dismiss. As such, discovery will be allowed to proceed, and the Court will work with
                                         parties on the next phase of briefing.
                                    11
                                                The Court summarizes its key rulings as follows:
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                                    13               •   MTD2 is GRANTED on Section 230 grounds as to plaintiffs’ products liability
                                                         design defect claims (Claims 1 and 3) to the extent they are based on the defects
                                    14                   alleged at paragraphs 845 (e), (h), (i), (t), (u), (l),86 and (j), as well as paragraph
                                                         864(l) of the MAC. MTD2 is GRANTED on First Amendment grounds as to
                                    15                   plaintiffs’ products liability design defect claims (Claims 1 and 3) arising out of the
                                                         defect alleged at paragraph 845(l) of the MAC insofar as that defect concerns the
                                    16                   timing and clustering of notifications of defendants’ content. MTD2 is otherwise
                                    17                   DENIED as set forth herein.
                                                     •   The Court FINDS plaintiffs’ negligence per se claim (Claim 5) not barred by
                                    18                   Section 230 or the First Amendment.
                                    19               •   With respect to the functionalities that remain after the rulings with respect to
                                                         Section 230 and the First Amendment, MTD1 is GRANTED WITH LEAVE TO
                                    20                   AMEND as to plaintiffs’ claims that defendants had and breached a duty to protect
                                    21                   platform users from harm by third parties, such as adult predators. MTD1 is

                                    22
                                                85
                                    23              There, plaintiff high school football players sued designers, manufacturers, and sellers of
                                         football helmets under a products liability theory. Adams v. BRG Sports, Inc., Nos. 17 C 8544, 17
                                    24   C 8972, 18 C 129, 2018 WL 4853130, at *1 (N.D. Ill. Oct. 5, 2018). The district court used a
                                         mini-MDL approach to address the suits filed, which involved requiring plaintiffs to file a master
                                    25   complaint and individual short-form complaints. Id. The court granted the motion to dismiss on
                                         the basis that plaintiffs’ causation allegations were made “on a group basis and only in the master
                                    26   complaint.” Id. at *3. However, it did so with leave to amend their pleadings. Id. at *5.
                                    27          86
                                                    To clarify, MTD2 is granted on Section 230 grounds as to the defect pled at paragraph
                                    28   845(l) of the MAC insofar as it describes the timing and clustering of notifications of third-party
                                         content in a way that promotes addiction.
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                                                      otherwise DENIED as set forth herein.
                                     1
                                                  •   With respect to the arguments regarding the remaining elements of plaintiffs’
                                     2                negligence per se claim (Claim 5), as they require adequate briefing, those
                                                      arguments are deemed WITHDRAWN without prejudice.
                                     3
                                                  •   Snap’s supplemental filings requesting dismissal of plaintiffs’ claims specific to the
                                     4                Snapchat platform are DENIED.
                                     5         This terminates Dkt Nos. 237 and 320.
                                     6
                                               IT IS SO ORDERED.
                                     7

                                     8   Dated: Nov. 14, 2023
                                                                                       ______________________________________
                                     9
                                                                                           YVONNE GONZALEZ ROGERS
                                    10                                                     UNITED STATES DISTRICT JUDGE

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